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   1    Stephen McArthur (SBN 277712)
        stephen@smcarthurlaw.com
   2    Thomas Dietrich (SBN 254282)
        tom@smcarthurlaw.com
   3    THE MCARTHUR LAW FIRM, P.C.
        9465 Wilshire Blvd., Ste. 300
   4    Beverly Hills, CA 90212
        Telephone: (323) 639-4455
   5
        Attorneys for Plaintiff Thrive
   6    Natural Care, Inc.
   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,          Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,          PLAINTIFF THRIVE NATURAL
                                            CARE, INC.’S DESIGNATIONS
  14          v.                            FROM RULE 30(B)(6) DEPOSITION
                                            OF KARISSA BODNAR IN LIEU OF
  15    THRIVE CAUSEMETICS, INC.,           DIRECT EXAMINATION TRIAL
                                            DECLARATION
  16                    Defendant.
                                            Hon. Percy Anderson
  17                                        United States District Court Judge
                                            Trial Date: November 9, 2021
  18                                        Time: 9:00 a.m.
                                            Courtroom: 9A, 350 W. 1st Street, 9th
  19                                        Floor, Los Angeles, California 90012
  20

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                                                            PLAINTIFF’S DESIGNATIONS FROM
                                                           BODNAR RULE 30(B)(6) DEPOSITION
                                                                CASE NO. 2:20-CV-09091-PA-AS
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   1         For its direct testimony in the bench trial scheduled in this matter, Plaintiff
   2   Thrive Natural Care, Inc. (“Thrive”) submits the following designations from the
   3   Rule 30(b)(6) Deposition of Karissa Bodnar, the CEO of Defendant Thrive
   4   Causemetics, Inc. (“TCI”), in lieu of a trial declaration for TCI’s witness. The
   5   designations also include the referenced Trial Exhibits, TCI’s counter-designations,
   6   and TCI’s objections together with Thrive’s responses.
   7

   8   Dated: October 26, 2021                 Respectfully submitted,
   9                                           THE MCARTHUR LAW FIRM, PC
  10
                                               By /s/ Stephen McArthur
  11
                                               Stephen C. McArthur
  12                                           Thomas E. Dietrich
  13                                           Attorneys for Plaintiff Thrive Natural Care,
                                               Inc.
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                                                                   PLAINTIFF’S DESIGNATIONS FROM
                                                                  BODNAR RULE 30(B)(6) DEPOSITION
                                                  -1-                  CASE NO. 2:20-CV-09091-PA-AS
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               RULE 30(B)(6) DEPOSITION OF KARISSA BODNAR


Deposition Designation                                    Objection & Response

Plaintiff’s Designation of Karissa Bodnar Rule 30(b)(6) Deposition
Plaintiff’s Designation of K. Bodnar 30(b)(6) (8:12-14)

Page 8
12    Q.    Good morning. Could you please state
13          your full name for the record.
14    A.    Karissa Elizabeth Bodnar.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (15:8-20)

Page 15
8     Q.    Let's talk a little bit about
9           your background with TCI. What is your
10          position within TCI?
11    A.    I am the founder and CEO.
12    Q.    Have you always had that
13          position?
14    A.    Yes.
15    Q.    Did you start TCI?
16    A.    Yes.
17    Q.    When?
18    A.    2015. I apologize. 2014.
19    Q.    When in 2014?
20    A.    I don't recall.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (15:24-
16:5)

Page 15
24    Q.    Did TCI sell products in 2014?
25    A.    I believe we sold products
Page 16
1           beginning in September of 2014.
                                         1
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 4 of 175 Page ID #:7998




2     Q.    What products did you start
3           selling in 2014?
4     A.    False lashes and lash
5           adhesive.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (22:16-20)

Page 22
16    Q.    Does TCI sell color cosmetics?
17    A.    Yes.
18    Q.    What does the term "color
19          cosmetics" mean?
20    A.    Makeup.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (23:15-20)

Page 23
15    Q.    When did TCI start selling color
16          cosmetics?
17    A.    2015.
18    Q.    Who made the decision to expand
19          from false eyelashes to color cosmetics?
20    A.    Me.

Defendant’s Counter-Designation of Karissa Bodnar
(23:21-24):

Page 23
21    Q.    And why did you make that
22          decision?
23    A.    Because our customers and
24          giving partners asked for them.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (23:25-
24:2)

Page 23
25    Q.    And what color cosmetics did TCI
Page 24
                                           2
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1           start with?
2     A.    Eyeliner.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (24:21-
25:7

Page 24
21    Q.    You said that in 2015 TCI started
22          selling eyeliner; is that right?
23    A.    Yes.
24    Q.    And did TCI at some point start
25          selling other color cosmetics?
Page 25
1     A.    Yes.
2     Q.    When did it expand from eyeliner
3           to something else?
4     A.    I believe it was July of 2015.
5     Q.    And what did TCI start selling
6           then?
7     A.    Browliner.

Defendant’s Counter-Designation of Karissa Bodnar
(25:14-23):

Page 25
14    Q.    What came next after browliner in
15          the color cosmetics category?
16    A.    To the best of my
17          recollection, it was Triple Threat Color
18          Stick.
19    Q.    And when was that released?
20    A.    I don't recall the specific
21          date.
22    Q.    Do you recall the year?
23    A.    It was either 2015 or 2016.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (25:24-
26:15)


                                           3
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Page 25
24    Q.     Does TCI sell skincare products?
25    A.     Yes.
Page 26
1     Q.     What does the term "skincare
2            products" mean?
3     A.     Products that you use on your
4            skin.
5     Q.     And on TCI's website, there's a
6            tab labeled Skincare, right?
7     A.     To the best of my knowledge, I
8            believe so.
9     Q.     And are the products listed under
10           that tab Skincare Products?
11    A.     I don't know.
...
14    (Exhibit No. 10 marked for
15    identification.)

Plaintiff’s Designation of K. Bodnar 30(b)(6) (26:25-
27:16)

Page 26
25    Q.    Do you recognize had the URL
Page 27
1           thrivecausemetics.com?
2     A.    Yes.
3     Q.    Does Thrive Causemetics have an
4           All Skincare page?
5     A.    From this, yes.
6     Q.    Do you recognize these products?
7     A.    Yes.
8     Q.    Are these products that TCI has
9           sold?
10    A.    Yes.
11    Q.    Are these skincare products?
12    A.    Yes.
...
15    (Exhibit No. 11 marked for

                                           4
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16    identification.)

Plaintiff’s Designation of K. Bodnar 30(b)(6) (27:24-
28:16)

Page 27
24    Q.    Are you familiar with the Thrive
25          Causemetics website?
Page 28
1     A.    Yes.
2     Q.    Are these the skincare products
3           for sale on Thrive Causemetics's website?
4     A.    Some of them, yes.
5     Q.    Would these have been products
6           for sale as of September 21st, 2020?
7     A.    To the best of my knowledge,
8           yes.
9     Q.    And do you see at the top, these
10          are listed under All Skincare Products?
11    A.    I see that it says All
12          Skincare Products.
13    Q.    Is that something that was added
14          to TCI's website by TCI?
15    A.    To the best of my knowledge,
16          yes.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (29:9-
30:15)

Page 29
9     Q.    Are any of the products on this
10          page in Exhibit 11 considered color
            cosmetics?
11    A.    Yes.
12    Q.    Which ones?
13    A.    On page 1, Pumpkin Spice Latte
14          Liquid Balm Lip Treatment, and then it
15          looks like the product name is cut off,
16          but it's also -- the product right below
                                           5
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17          the Pumpkin Spice Latte, which is called
18          Liquid Balm.
19    Q.    So those would be considered
20          color cosmetics?
21    A.    They could be, yes.
22    Q.    Could they be considered skincare
23          products?
24    A.    Yes.
25    Q.    How about the other products on
Page 30
1           Exhibit 11? Would those be considered
2           skincare products?
3     A.    They could be. The one that
4           would not be is hand sanitizer.
5     Q.    What category would that fall
6           into?
7     A.    I don't know.
8     Q.    Is it listed on TCI's website as
9           a skincare product?
10    A.    Yes.
11    Q.    And the two lip balms on the
12          first page, are those listed on Thrive
13          Causemetics' website as skincare products?
14    A.    To the best of my knowledge,
15          yes.

Defendant’s Counter-Designation of Karissa Bodnar
(30:16-20):

Page 30
16    Q.    Why do you say that those two
17          could be considered color cosmetics?
18    A.    Because they enhance your --
19          the appearance of your lips the same way
20          that a lip gloss would.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (33:3-     Defendant’s Objections:
35:14)


                                           6
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Page 33                                                    Page 34:3-4, 11-12: Asked
3     Q.    Is lotion a skincare product?                  and answered, Fed. R. Evid.
...                                                        611(a)
7     A.    Yes.
...                                                        Plaintiff’s Response:
9     Q.    Is moisturizer a skincare
10          product?                                       Question does not waste
...                                                        time or harass or unduly
14    A.    It truly depends.                              embarrass the witness. No
15    Q.    What does it depend on?                        basis to strike under FRE
16    A.    The type of moisturizer it is.                 611(a).
17    Q.    Can you explain that a little
18          bit?
19    A.    There are moisturizers that
20          have pigment in them.
21    Q.    Are those considered skincare
22          products if they have pigment in them?
23    A.    It truly depends.
24    Q.    Does TCI sell any pigmented
25          moisturizer?
Page 34
1     A.    It really depends on an
2           individual's definition.
3     Q.    Does TCI sell any pigmented
4           moisturizer?
...
11    A.    It truly depends on
12          a person's definition.
...
14    Q.    On the definition of what?
15    A.    Moisturizer.
16    Q.    Looking at the second page, third
17          page of Exhibit 11, there's a product called
18          Defying Gravity Transforming Moisturizer.
19          Do you see that?
20    A.    Yes.
21    Q.    Is that a moisturizer?
22    A.    Yes.
23    Q.    What makes it a moisturizer?

                                            7
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 24    A.    In simple terms, it
 25          moisturizes the skin.
 Page 35
 1     Q.    And to TCI that makes this a
 2           moisturizer?
 3     A.    Not exclusively.
 4     Q.    I'm afraid I don't understand
 5           what you mean by not exclusively. Can
             you
 6           explain?
 7     A.    Our products do more than just
 8           one thing.
 9     Q.    Does this product Defying Gravity
 10          Transforming Moisturizer moisturize skin?
 11    A.    Yes.
 12    Q.    And so TCI considers it a
 13          moisturizer?
 14    A.    Yes.

 Defendant’s Counter-Designation of Karissa Bodnar
 (35:22-36:2):

 Page 35
 22    Q.    Does TCI have any other products
 23          that moisturize skin that do have pigment in
 24          them?
 25    A.    All color cosmetics, all

 Page 36
 1           topical products do something to the skin,
 2           but it depends on the consumer's skin.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (36:3-
 37:10)

 Page 36
 3     Q.    Is a cream considered a skincare
 4           product?
 ...
                                            8
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 11 of 175 Page ID #:8005




 6     A.    It depends.
 ...
 8     Q.    Do you know what a cream is?
 9     A.    No because it can be defined
 10          many different ways.
 11    Q.    So the term "cream" doesn't have
 12          a specific definition?
 13    A.    No.
 14    Q.    Does lotion have a specific
 15          definition?
 ...
 18    A.    No.
 ...
 20    Q.    Is a cleanser considered a
 21          skincare product?
 22    A.    To the best of my knowledge,
 23          yes.
 24    Q.    How about a balm? Is that
 25          considered a skincare product?
 Page 37
 1     A.    Not exclusively.
 2     Q.    Is it considered a skincare
 3           product and considered something else as
             well?
 4     A.    Yes.
 5     Q.    What else would a balm be
 6           considered?
 7     A.    It could be considered -- to
 8           the best of my knowledge, it could be
 9           considered a hair care product, a color
 10          cosmetic product.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (37:24-
 38:19)

 Page 37
 24    Q.    Are there any specific
 25          characteristics that make up a balm?
 Page 38

                                            9
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 ...
 3     A.    I don't know.
 ...
 5     Q.    Does TCI sell any balms?
 6     A.    We have a product that is
 7           named Liquid Balm.
 8     Q.    Does TCI consider that to be a
 9           balm?
 10    A.    No.
 11    Q.    Why not?
 12    A.    It's a lip product by our
 13          definition.
 14    Q.    Yet, you called the product a
 15          balm?
 16    A.    That's a part of the name.
 17    Q.    When did TCI first have the idea
 18          that it may sell skincare products?
 19    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (39:15-
 40:1)

 Page 39
 15    Q.    When did TCI first begin planning
 16          to sell skincare products?
 ...
 19    A.    I don't recall the
 20          specific time.
 ...
 22    Q.    Do you recall if it was 2015?
 23    A.    I don't recall.
 24    Q.    Who decided TCI should sell
 25          skincare products?
 Page 40
 1     A.    Me.

 Defendant’s Counter-Designation of Karissa Bodnar
 (40:2-4):


                                             10
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 Page 40
 2     Q.    Why did you reach that decision?
 3     A.    Our customers requested that
 4           we create them.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (42:1-43:1)

 Page 42
 1     Q.    What social media does TCI use?
 2     A.    One example would be Facebook.
 3     Q.    Does TCI use Instagram?
 4     A.    Yes.
 5     Q.    Is TCI on any other social media?
 6     A.    Yes.
 7     Q.    Which ones?
 8     A.    TickTok.
 9     Q.    Any others?
 10    A.    Yes. To the best of my
 11          knowledge, Snapchat.
 12    Q.    When was the decision made to go
 13          forward with expanding into skincare
             products?
 14    A.    I don't recall the specific
 15          date.
 16    Q.    Do you recall the approximate
 17          date?
 18    A.     No.
 ...
 21    Q.    At some point TCI did decide to
 22          expand into skincare products?
 23    A.    Correct. Yes.
 24    Q.    And TCI did start selling
 25          skincare products after that time?
 Page 43
 1     A.    Yes.

 Defendant’s Counter-Designation of Karissa Bodnar
 (43:2-5):


                                           11
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 Page 43
 2     Q.    What considerations went into the
 3           decision to start selling skincare products?
 4     A.    To serve our customers and
 5           giving partners.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (43:9-14)

 Page 43
 9     Q.    Sure. Did TCI consider whether
 10          it could make money selling skincare
             products?
 11    A.    Yes.
 12    Q.    Who was involved in those
 13          considerations?
 14    A.    Me.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (43:20-
 44:1)

 Page 43
 20    Q.    Who was involved in the decision
 21          to expand into the skincare products?
 22    A.    Me and our customers.
 23    Q.    Anyone else from TCI?
 24    A.    Ned Menninger.
 25    Q.    Anyone else?
 Page 44
 1     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (45:3-46:9)

 Page 45
 3     Q.    Who was involved in the process
 4           of coming to the decision to sell skincare
 5           products?
 6     A.    Our customers, me, Ned
 7           Menninger.
 8     Q.    Anyone else?
                                            12
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 9     A.    I don't know. I don't recall.
 10    Q.    When did TCI actually start
 11          selling skincare products?
 12    A.    To the best of my knowledge,
 13          2018.
 14    Q.    Do you know when in 2018?
 15    A.    It was in the second half of
 16          2018, to the best of my knowledge.
 17    Q.    What skincare products did TCI
 18          first sell?
 19    A.    Overnight Sensation.
 20    Q.    Anything else?
 21    A.    To the best of my knowledge,
 22          it was Overnight Sensation.
 23    Q.    Has TCI expanded its skincare
 24          line since then?
 25    A.    Yes.
 Page 46
 1     Q.    What products were added o the
 2           skincare line?
 3     A.    Defying Gravity Moisturizer.
 4     Q.    When was that added?
 5     A.    Could you be more specific
 6           about what you mean when you say
             "added"?
 7     Q.    Sure. I mean, when the product
 8           was released to the public.
 9     A.    2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (47:5-49:2)

 Page 47
 5     Q.    In 2020, did TCI add any skincare
 6           products to its line?
 7     A.    Yes.
 8     Q.    Which products were those?
 9     A.    A few of them would be Defying
 10          Gravity Moisturizer, Defying Gravity Eye
 11          Cream, Bright Balance Cleanser.

                                           13
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 12    Q.    A little bit ago we talked about
 13          a cream. Is there anything specific about
 14          Defying Gravity Eye Cream that made TCI
             call
 15          it a cream?
 16    A.    In the market, eye products
 17          that perform like Defying Gravity Eye
 18          Cream are often called eye cream.
 19    Q.    Is that a specific definition or
 20          just something TCI chose?
 21    A.    In the beauty industry,
 22          there's not really a specific definition,
 23          I would say.
 24    Q.    Has the skincare market been
 25          profitable for TCI?
 Page 48
 1     A.    Yes.
 2     Q.    Does TCI have plans to continue
 3           its skincare offering?
 4     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (48:21-
 49:2)

 Page 48
 21    Q.    Has TCI continued to expand its
 22          skincare product line after the lawsuit being
 23          filed by Thrive Natural Care?
 ...
 Page 49
 1     A.    To the best of my
 2           knowledge, yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (49:10-
 50:10)

 Page 49
 10    (Exhibit No. 12 marked for
 11    identification.)
                                           14
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 ...
 17    Q.    Ms. Bodnar, do you have
 18          Exhibit 12 in front of you?
 19    A.    Yes.
 20    Q.    Do you recognize this exhibit?
 21    A.    Yes.
 22    Q.    What does it show?
 23    A.    It shows Smart
 24          Microdermabrasion 2-in-1 Instant Facial.
 25    Q.    Is that a TCI skincare product?
 Page 50
 1     A.    Yes.
 2     Q.    It has a launch date of
 3           February 24th, 2021.
 4           Do you see that?
 5     A.    Yes.
 6     Q.    Was that when this product was
 7           released to the public?
 8     A.    I believe so. It would have
 9           been within weeks or months, if that's not
 10          the exact date.

 Defendant’s Counter-Designation of Karissa Bodnar
 (56:15-22):

 Page 56
 15    Q.    Do you have a main site?
 16    A.    Yes, thrivecausemetics.com.
 17    Q.    Has that always been TCI's main
 18          site?
 19    A.    Yes.
 20    Q.    When did that site go live?
 21    A.    To the best of my memory, it
 22          was 2014.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (57:19-
 58:1)

 Page 57
                                           15
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 19    Q.    Before you started those efforts,
 20          did you do any kind of search to see if the
 21          Thrive Causemetics name was in use by any
 22          other entity?
 23    A.    I don't remember. I don't
 24          recall.
 25    Q.    You may have?
 Page 58
 1     A.    I don't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (58:14-
 59:11)

 Page 58
 14    Q.    During those
 15          years, 2013 and 2014, did you ever do any
             kind
 16          of check to see if there were any other
 17          entities using Thrive or Causemetics in
 18          similar markets?
 19    A.    From that time, I don't
 20          recall.
 21    Q.    Do you know if you did a Google
 22          search for other companies with similar
             names?
 23    A.    I don't recall.
 24    Q.    Do you know if you checked the
 25          trademark database for companies with a
 Page 59
 1           similar name?
 2     A.    Are you asking about 2013 or
 3           2014?
 4     Q.    Yes.
 5     A.    I don't recall.
 6     Q.    Did you ask anyone else to do
 7           searches like that during the 2013-2014 time
 8           period?
 9     A.    It would have been -- it would
 10          have been only me at the time, so no, to

                                           16
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 11          the best of my memory.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (78:15-   Defendant’s Objections:
 79:4)
                                                         Page 78:15-79:4: Irrelevant,
 Page 78                                                 Fed. Evid. 401, 402;
 15    Q.    In that 2014-2015 time period,              Prejudicial, Fed. R. Evid.
 16          did you pitch retailers to carry Thrive     403 (long predates sale of
 17          Causemetics products?                       skincare products)
 18    A.    I did, yes.
 19    Q.    Who and what retailers did you              Plaintiff’s Response:
 20          make pitches too?
 21    A.    I am smiling because I was                  Questions lay foundation
 22          very unsuccessful in pitching those         for subsequent questions
 23          retailers. I don't even know if I got       and document
 24          responses from my emails that I sent.       demonstrating Ms. Bodnar
 25          But I was trying to get the                 pitched products to Sephora
 Page 79                                                 which referred to Defendant
 1           brand carried. I had -- my dream at the     as “Thrive” alone and
 2           time was to have the products carried at    included planned expansion
 3           Nordstrom or Sephora, a retailer like       into skincare market in
 4           that. I was unsuccessful in that, though.   2016, contrary to her
                                                         statements made to
                                                         Plaintiff’s CEO around the
                                                         same time.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (82:21-
 83:10)

 Page 82
 21    Q.    Were there any other channels
 22          through which TCI products were sold?
 23    A.    Not intentionally, no.
 24    Q.    What do you mean by not
 25          intentionally?
 Page 83
 1     A.    People can purchase our
 2           products and then resell them on websites
 3           that we don't authorize.
 4     Q.     Does that happen from time to
                                            17
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 5           time?
 6     A.    Unfortunately, yes. And we --
 7           an example would be, like, an Amazon. We
 8           don't authorize that our products are sold
 9           on Amazon and quite honestly can't even
 10          verify whether it's our product or not.

 Defendant’s Counter-Designation of Karissa Bodnar
 (83:11-16):

 Page 83
 11    Q.    Does TCI sell products itself on
 12          Amazon?
 13    A.    We do not, no.
 14    Q.    Has it ever?
 15    A.    To the best of my knowledge,
 16          no.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (86:13-
 87:1)

 Page 86
 13    Exhibit No. 16 marked for
 14    identification.)
 ...
 16    Q.     Ms. Bodnar, do you have
 17           Exhibit 16 in front of you?
 18    A.     Let me just move my screen.
 19    Q.     Sure.
 20    A.     Yes.
 21    Q.     Do you recognize this exhibit?
 22    A.     If it looks like a product
 23           list.
 24    Q.     Was this prepared for this case?
 25    A.     At the top it says, Thrive
 Page 87
 1            Causemetics, Inc., so I would believe so.



                                            18
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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (87:7-
 89:22)

 Page 87
 7     Q.    I'm going to ask you about the
 8           columns in the document first.
 9           There's a column that says First
 10          Sale.
 11          Do you see that?
 12    A.    Yes.
 13    Q.    What does that mean on this
 14          document?
 15    A.    I believe, to the best of my
 16          knowledge, it would mean the first time we
 17          sold it on thrivecausemetics.com.
 18    Q.    And the price, that's the price
 19          of that first sale?
 20    A.    Without reviewing all of
 21          these, to the best of my knowledge, I
 22          believe that yes, that would be first
 23          price point.
 24    Q.    And it looks -- I guess, can you
 25          describe to me what the Channel column
             means,
 Page 88
 1           if you know?
 2     A.    Yes. It's the channel in
 3           which it's sold.
 ...
 10    A.    But yes. The channel would
 11          be -- it looks like they're all labeled as
 12          our online store.
 13    Q.    Each of these would be considered
 14          a SKU that TCI has sold?
 15    A.    Yes.
 Page 88
 20    Q.    On the third page, there's a
 21          product called Buildable Blur CC Cream.
             Do

                                              19
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 22         you see a there's a number of listings for
 23         that?
 ...
 Page 89
 1     Q.   Oh, yes, I do.
 ...
 4     Q.   What is Buildable Blur CC Cream?
 5     A.   Buildable Blur CC Cream is
 6          defined as a CC cream, which is a product
 7          that -- I actually have it on today. It's
 8          on -- it's right here on my face.
 9     Q.   What is a CC cream?
 10    A.   A CC cream is a product that
 11         covers up imperfections, evens out your
 12         skin tone.
 13    Q.   And does it moisturize the skin?
 14    A.   Depending on the skin type,
 15         yes.
 16    Q.   Is it advertised by TCI as a
 17         moisturizer?
 18    A.   I don't recall.
 19    Q.   And the product description is
 20         broad spectrum SPF 35. Is this product a
 21         sunscreen as well?
 22    A.   It does have sunscreen in it.

 Defendant’s Counter-Designation of Karissa Bodnar
 (92:23-93:2; 93:13-21):

 Page 92
 23    Q.   Would Buildable Blur be
 24         considered a skincare product?
 25    A.   I personally think of

 Page 93
 1          Buildable Blur CC Cream as more of a
 2          makeup product.

 13   Q.    Do you consider Buildable Blur a

                                           20
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 14          makeup product?
 15    A.    Yes.
 16    Q.    Why is that?
 17    A.    Because of pigment that's in
 18          it. It's shaded. So currently we have 18
 19          shades. And it really is helping to
 20          improve the appearance of the skin from
 21          a -- the same way makeup would.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (98:19-      Defendant’s Objections:
 100:9)
                                                            Page 99:3-100:9: Irrelevant,
 Page 98                                                    Fed. Evid. 401, 402;
 19    (Exhibit No. 17 marked for                           Prejudicial, Fed. R. Evid.
 20    identification.)                                     403 (long predates sale of
 ...                                                        skincare products)
 Page 99
 3     Q.     Okay. Do you have Exhibit 17 in               Plaintiff’s Response:
 4            front of you?
 5     A.     Yes.                                          Ms. Bodnar emailed
 6     Q.     Starting with the first page,                 Plaintiff in 2016 claiming
 7            it's an email from you to Jennifer Cohen at   her company only sold color
 8            Sephora. Do you see that?                     cosmetics and would always
 9     A.     Yes.                                          use the term “Thrive”
 10    Q.     Do you recognize the document                 together with the term
 11           that is Exhibit 17?                           “Causemetics”. This
 12    A.     I recognize that it's from my                 document, from around the
 13           email to Jennifer Cohen.                      same time as Ms. Bodnar’s
 14    Q.     The following attachment is a                 email, is relevant to
 15           slide show, do you recognize that slide       demonstrate: (1) date of
              show?                                         Defendant’s plans to expand
 16    A.     I am scrolling through it.                    into skincare market and
 17    Q.     Okay.                                         Defendant’s frequent use of
 18    A.     Yes.                                          the term “Thrive” alone to
 19    Q.     What is this document?                        refer to its company, both of
 20    A.     This looks like a presentation                which contradict statements
 21           -- based on this email, it looks like a       made by Ms. Bodnar to
 22           presentation that we were trying to make      Plaintiff; (2) Ms. Bodnar
 23           to Sephora.                                   hid information concerning

                                            21
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 24    Q.    And you mentioned that earlier in              expansion plans from
 25          the deposition, right, that you pitched to     Plaintiff in 2016 email,
 Page 100                                                   supporting Plaintiff’s
 1           Sephora?                                       opposition to laches
 2     A.    Yes.                                           defense; and (3)
 3     Q.    Did you create this presentation?              Defendant’s long used the
 4     A.    I don't recall.                                term “Thrive” alone to refer
 5     Q.    Do you know who else would have                to itself supports a finding
 6           been involved in creating this presentation?   of false designation of
 7     A.    It was -- I am just looking at                 origin or infringement based
 8           the email date. It would have been             on confusion as to the
 9           somebody at Thrive Causemetics.                affiliation of the parties,
                                                            which have both been
                                                            known by the name
                                                            “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (100:14-     Defendant’s Objections:
 102:12)
                                                            Page 100:14-101:14:
 Page 100                                                   Irrelevant, Fed. Evid. 401,
 14    Q.    Do you recall sending it to                    402; Prejudicial, Fed. R.
 15          someone at Sephora?                            Evid. 403 (long predates
 16    A.    Other than the seeing the date                 sale of skincare products)
 17          from July 27, 2016, I don't specifically
 18          remember sending it, but I believe that I      Page 101:15-102:12:
 19          did.                                           Irrelevant, Fed. Evid. 401,
 20    Q.    Do you have any reason to doubt                402; Prejudicial, Fed. R.
 21          the accuracy of this document?                 Evid. 403 (relates solely to
 22    A.    No.                                            abandoned color cosmetics
 23    Q.    If you would turn -- I guess, can              claim)
 24          you tell me, do you know who Jennifer
             Cohen at                                       Plaintiff’s Response:
 25          Sephora is?
 Page 101                                                   Ms. Bodnar emailed
 1     A.    Yes.                                           Plaintiff in 2016 claiming
 2     Q.    Did you know Jennifer Cohen at                 her company only sold color
 3           Sephora?                                       cosmetics and would always
 4     A.    Yes, I met her.                                use the term “Thrive”
 5     Q.    And what was the purpose sending               together with the term

                                            22
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 6           this slide set to her?                         “Causemetics”. This
 7     A.    To schedule a follow-up phone                  document, from around the
 8           conversation.                                  same time as Ms. Bodnar’s
 9     Q.    To do what?                                    email, is relevant to
 10    A.    To speak with her about Thrive                 demonstrate: (1) date of
 11           Causemetics.                                  Defendant’s plans to expand
 12    Q.    Did you want Sephora to sell                   into skincare market and
 13          Thrive Causemetics?                            Defendant’s frequent use of
 14    A.    At the time, yes.                              the term “Thrive” alone to
 15    Q.    Can you turn to Bates number that              refer to its company, both of
 16          ends in 9125, please?                          which contradict statements
 17    A.    Yes.                                           made by Ms. Bodnar to
 18    Q.    Can you read the title at the top              Plaintiff; (2) Ms. Bodnar
 19          of this page?                                  hid information concerning
 20    A     .Thrive In the News.                           expansion plans from
 21    Q.    Are you referring to Thrive                    Plaintiff in 2016 email,
 22          Causemetics?                                   supporting Plaintiff’s
 23    A.    Yes. The logo is on the                        opposition to laches
 24          presentation, the Thrive Causemetics logo.     defense; and (3)
 25    Q.    And in this title, you're just                 Defendant’s long used the
 Page 102                                                   term “Thrive” alone to refer
 1           saying Thrive, right?                          to itself supports a finding
 2     A.    This title, yes.                               of false designation of
 3     Q.    Can you turn to Bates No. 9133,                origin or infringement based
 4           please? Just let me know when you're there.    on confusion as to the
 5     A.    Yes.                                           affiliation of the parties,
 6     Q.    Can you read the title at the top              which have both been
 7           of this page, please?                          known by the name
 8     A.    "Celebrity makeup artists use                  “Thrive” for years.
 9           plus recommend Thrive."
 10    Q.    Is that referring to Thrive
 11          Causemetics again?
 12    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (103:6-14)   Defendant’s Objections:

 Page 103                                                   Page 103:6-8, 11-14:
 6     Q.    This document quotes Melissa                   Irrelevant, Fed. Evid. 401,
                                                            402; Prejudicial, Fed. R.

                                           23
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 7           Schleicher. Can you read the quote from      Evid. 403 (relates solely to
             her,                                         abandoned color cosmetics
 8           please?                                      claim)
 ...
 11    Q.    "When my clients                             Plaintiff’s Response:
 12          are hitting the red carpet, I immediately
             grab                                         Relevant to demonstrate: (1)
 13          for my Thrive products. I love everything    Defendant’s frequent use of
 14          else they make."                             the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradicts statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (104:12-   Defendant’s Objections:
 20)
                                                           Page 104:12-13, 16-20:
 Page 104                                                  Irrelevant, Fed. Evid. 401,
 12    Q.    Can you read the next quote                   402; Prejudicial, Fed. R.
 13          that's attributed to Jamie Greenberg, please? Evid. 403 (relates solely to
 ...                                                       abandoned color cosmetics
 16    Q.    "I can't get                                  claim)
 17          enough. If Thrive makes it, I use it on my
 18          clients because they are the most effective   Plaintiff’s Response:
 19          products I've ever used. The cause is near
 20          and dear to my heart."                        Relevant to demonstrate: (1)
                                                           Defendant’s frequent use of
                                                           the term “Thrive” alone to
                                                           refer to its company, which

                                           24
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                                                          contradicts statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (105:2-    Defendant’s Objections:
 106:2)
                                                          Page 105:2-3, 6, 8-9, 12-16,
 Page 105                                                 21-23, 106:2: Irrelevant,
 2     Q.    It uses the word Thrive to refer             Fed. Evid. 401, 402;
 3           to Thrive Causemetics, doesn't it?           Prejudicial, Fed. R. Evid.
 ...                                                      403 (relates solely to
 6     A.    Yes.                                         abandoned color cosmetics
 ...                                                      claim)
 8     Q.    Can you read the third quote
 9           attributed to Elena George?                  Plaintiff’s Response:
 ...
 12    A.    "Thrive has changed                          Relevant to demonstrate: (1)
 13          the game and I am grateful to be a part of   Defendant’s frequent use of
             the                                          the term “Thrive” alone to
 14          team. I use their products on all of my      refer to its company, which
 15          celebrity clientele because they are safe,   contradict statements made
 16          effective and give back."                    by Ms. Bodnar to Plaintiff;
 ...                                                      and (2) Defendant’s long
 21    Q.    This's several instances just on             used the term “Thrive”
 22          this page referring to Thrive Causemetics    alone to refer to itself
             just                                         supports a finding of false
 23          as Thrive, are there not?                    designation of origin or
 ...                                                      infringement based on
 Page 106                                                 confusion as to the

                                            25
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 2     A.    Yes.                                            affiliation of the parties,
                                                             which have both been
                                                             known by the name
                                                             “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (107:5-9)     Defendant’s Objections:

 Page 107                                                    Page 107:5-9: Irrelevant,
 5     Q.    But did you take any specific                   Fed. Evid. 401, 402;
 6           steps so that -- to request that these people   Prejudicial, Fed. R. Evid.
 7           always use the name Thrive Causemetics          403 (relates solely to
             rather                                          abandoned color cosmetics
 8           than just Thrive?                               claim)
 9     A.    I don't recall.
                                                             Plaintiff’s Response:

                                                             Ms. Bodnar contacted
                                                             Plaintiff in 2016 claiming
                                                             she would always use the
                                                             term “Thrive” together with
                                                             the term “Causemetics”.
                                                             This testimony indicates
                                                             Ms. Bodnar made no such
                                                             attempt to do what she
                                                             claimed in her email to
                                                             Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (109:3-9)     Defendant’s Objections:

 Page 109                                                    Page 109:3-9: Irrelevant,
 3     Q.    Can you turn to page 9134 in                    Fed. Evid. 401, 402;
 4           Exhibit 17, please?                             Prejudicial, Fed. R. Evid.
 5     A.    Yes. I am there.                                403 (long predates sale of
 6     Q.    Can you read the title at the top               skincare products)
 7           of the page?
 8     A.    Thrive at New York Fash- or                     Plaintiff’s Response:
 9           NYFW.
                                                             Relevant to demonstrate: (1)
                                                             Defendant’s frequent use of
                                            26
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                                                          the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradict statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (109:14-   Defendant’s Objections:
 111:3)
                                                          Page 109:14-110:15;
 Page 109                                                 110:17-25; 111:3:
 14    Q.    Can you turn to page 9155,                   Irrelevant, Fed. Evid. 401,
 15          please. Let me know when you're there.       402; Prejudicial, Fed. R.
             This                                         Evid. 403 (long predates
 16          page is titled, Product 2017, right?         sale of skincare products)
 17    A.    Yes.
 18    Q.    Under the list for Q3, there is a            Plaintiff’s Response:
 19          Hero Skincare SKU.
 20          Do you see that?                            Ms. Bodnar emailed
 21    A.    I see that on this page, yes.               Plaintiff in 2016 claiming
 22    Q.    What was meant by that?                     her company only sold color
 23    A.    I don't recall.                             cosmetics and would always
 24    Q.    What is a hero to you? What does            use the term “Thrive”
 25          that mean?                                  together with the term
 Page 110                                                “Causemetics”. This
 1     A.    At Sephora, they refer to hero              document, from around the
 2           SKUs as -- they say hero SKU when talking same time as Ms. Bodnar’s
 3           about products that are popular is really   email, is relevant to
 4           how they refer to it.                       demonstrate: (1) date of
 5     Q.    When this document was created,             Defendant’s plans to expand
 6           what was the plan regarding a hero skincare into skincare market and

                                           27
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 7          SKU in 2017?                                   Defendant’s frequent use of
 8     A.   I don't recall.                                the term “Thrive” alone to
 9     Q.   Did TCI plan to release a                      refer to its company, both of
 10         skincare SKU in the third quarter of 2017?     which contradict statements
 11    A.   I don't recall.                                made by Ms. Bodnar to
 12    Q.   Do you have any reason to doubt                Plaintiff; (2) Ms. Bodnar
 13         that at this time of these slides, TCI did     hid information concerning
 14         have plans to release the hero skincare SKU    expansion plans from
            in                                             Plaintiff in 2016 email,
 15         2017?                                          supporting Plaintiff’s
 ...                                                       opposition to laches
 17    A.   I don't recall.                                defense; and (3)
 18         But as a whole, this isn't representative of   Defendant’s long used the
 19         what actually wound up happening from a        term “Thrive” alone to refer
 20         product launch perspective.                    to itself supports a finding
 ...                                                       of false designation of
 22    Q.   I understand that. But it                      origin or infringement based
 23         appears to indicate that TCI had a plan to     on confusion as to the
 24         release a skincare SKU in Q3, 2017; is that    affiliation of the parties,
 25         correct?                                       which have both been
 Page 111                                                  known by the name
 ...                                                       “Thrive” for years.
 3     A.   I don't recall.

 Defendant’s Counter-Designation of Karissa Bodnar
 (111:5-7; 9-18) [only if objections to preceding
 designation are overruled]:

 Page 111
 5     Q.   Well, that's what it says here.
 6          Do you have any reason to doubt what it
            says
 7          here?

 9     A.   Yes. Yes, I do.
 ...
 11    Q.   What is your reason to doubt?
 12    A.   The other inaccuracies on
 13         here. Almost none of the things on the

                                           28
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 14          slide are accurate from a timing and
 15          actual -- for example, Q3, it says mascara
 16          II. We never launched a second mascara.
 17          Our mascara did not launch in Q1 of 2017.
 18          So there's just a lot of inaccuracies.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (111:24-   Defendant’s Objections:
 113:3)
                                                          Page 111:24-112:10;
 Page 111                                                 112:14-16; 112:19-20;
 24    Q.    Below it says, Q4 skincare                   112:22-24: Irrelevant, Fed.
 25          rollout five SKUs.                           Evid. 401, 402; Prejudicial,
 Page 112                                                 Fed. R. Evid. 403 (long
 1           Do you see that?                             predates sale of skincare
 2     A.    I do see that on this                        products)
 3           document.
 4     Q.    What is that referring to?                   Page 112:25-113:3:
 5     A.    I don't recall.                              Irrelevant, Fed. Evid. 401,
 6     Q.    What five SKUs were planned?                 402; Prejudicial, Fed. R.
 7     A.    I don't recall.                              Evid. 403 (relates solely to
 8     Q.    Is it correct these five SKUs                abandoned color cosmetics
 9           were planned to be released, according to    claim)
             your
 10          plans, on July 2016?                         Plaintiff’s Response:
 ...
 12    A.    I don't recall.                              Ms. Bodnar emailed
 ...                                                      Plaintiff in 2016 claiming
 14    Q.    Did you make any attempt to make             her company only sold color
 15          sure you provided Sephora with correct       cosmetics and would always
 16          information as to TCI's plans?               use the term “Thrive”
 ...                                                      together with the term
 19    A.    Honestly, I just                             “Causemetics”. This
 20          don't recall.                                document, from around the
 ...                                                      same time as Ms. Bodnar’s
 22    Q.    But you could have had plans to              email, is relevant to
 23          release skincare SKUs as of July 2016?       demonstrate: (1) date of
 24    A.    Perhaps.                                     Defendant’s plans to expand
 25    Q.    Turning to the next page, 9156.              into skincare market and
 Page 113                                                 Defendant’s frequent use of

                                           29
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 1           Can you read the title at the top of the page,   the term “Thrive” alone to
 2           please?                                          refer to its company, both of
 3     A.    "Thrive at Sephora."                             which contradict statements
                                                              made by Ms. Bodnar to
                                                              Plaintiff; (2) Ms. Bodnar
                                                              hid information concerning
                                                              expansion plans from
                                                              Plaintiff in 2016 email,
                                                              supporting Plaintiff’s
                                                              opposition to laches
                                                              defense; and (3)
                                                              Defendant’s long used the
                                                              term “Thrive” alone to refer
                                                              to itself supports a finding
                                                              of false designation of
                                                              origin or infringement based
                                                              on confusion as to the
                                                              affiliation of the parties,
                                                              which have both been
                                                              known by the name
                                                              “Thrive” for years. Also
                                                              relevant to Defendant’s
                                                              arguments to the USPTO
                                                              that the parties sold
                                                              different products, when
                                                              indeed Defendant already
                                                              had plans to sell skincare in
                                                              direct competition with
                                                              Plaintiff.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (113:10-       Defendant’s Objections:
 13)
                                                              Page 113:10-13: Irrelevant,
 Page 113                                                     Fed. Evid. 401, 402;
 10    Q.    Can you read the last sentence,                  Prejudicial, Fed. R. Evid.
 11          the last quote attributed to a Kathy Lund?       403 (relates solely to
 12    A.    "Excited to try more from                        abandoned color cosmetics
 13          Thrive."                                         claim)

                                                              Plaintiff’s Response:

                                            30
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                                                          Relevant to demonstrate: (1)
                                                          Defendant’s frequent use of
                                                          the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradicts statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (113:24-   Defendant’s Objections:
 114:1)
                                                          Page 113:24-114:1:
 Page 113                                                 Irrelevant, Fed. Evid. 401,
 24    Q.    Have you known customers of TCI              402; Prejudicial, Fed. R.
 25          to refer to Thrive alone?                    Evid. 403 (relates solely to
 Page 114                                                 abandoned color cosmetics
 1     A.    Yes.                                         claim)

                                                          Plaintiff’s Response:

                                                          Ms. Bodnar contacted
                                                          Plaintiff in 2016 claiming
                                                          she would always use the
                                                          term “Thrive” together with
                                                          the term “Causemetics”.
                                                          This testimony shows she
                                                          knew that was untrue.
                                                          Further, this testimony
                                                          supports a finding of false
                                                          designation of origin or

                                           31
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                                                            infringement based on
                                                            confusion as to the
                                                            affiliation of the parties,
                                                            which are both known as
                                                            “Thrive” and Ms. Bodnar’s
                                                            knowledge that moving into
                                                            skincare under that name
                                                            would be likely to cause
                                                            confusion with Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (114:3-4)

 Page 114
 3     (Exhibit No. 18 marked for
 4     identification.)

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (114:13-
 23)

 Page 114
 13    Q.    And this is your email to Jenni
 14          Bodnar, dated January 8, 2016; is that
 15          correct?
 16    A.    Yes.
 17    Q.    Who is Jenni Bodnar?
 18    A.    My mother.
 19    Q.    And what involvement did she have
 20          with TCI at this time?
 21    A.    She did order fulfillment.
 22          She is my mom, so she did, you know,
 23          whatever -- whatever I needed help with.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (115:5-16)   Defendant’s Objections:

 Page 115                                                   Page 115:5-16: Irrelevant,
 5     Q.    Do you know who created these                  Fed. Evid. 401, 402;
 6           slides?                                        Prejudicial, Fed. R. Evid.
 7     A.    I don't recall.                                403 (long predates sale of
 8     Q.    Could it have been you?                        skincare products)
                                           32
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 9    A.    Yes, it could have been.
 10   Q.    And you sent them to your mother            Plaintiff’s Response:
 11         in January 2016?
 12   A.    I don't recall sending it, but              Ms. Bodnar emailed
 13         it looks like I did, based on this email.   Plaintiff in 2016 claiming
 14   Q.    Do you have any reason to doubt             her company only sold color
 15         that you did?                               cosmetics and would always
 16   A.    No.                                         use the term “Thrive”
                                                        together with the term
                                                        “Causemetics”. This
                                                        document, which predates
                                                        Ms. Bodnar’s email to
                                                        Plaintiff, is relevant to
                                                        demonstrate: (1) date of
                                                        Defendant’s plans to expand
                                                        into skincare market and
                                                        Defendant’s frequent use of
                                                        the term “Thrive” alone to
                                                        refer to its company, both of
                                                        which contradict statements
                                                        made by Ms. Bodnar to
                                                        Plaintiff; (2) Ms. Bodnar
                                                        hid information concerning
                                                        expansion plans from
                                                        Plaintiff in 2016 email,
                                                        supporting Plaintiff’s
                                                        opposition to laches
                                                        defense; and (3)
                                                        Defendant’s long used the
                                                        term “Thrive” alone to refer
                                                        to itself supports a finding
                                                        of false designation of
                                                        origin or infringement based
                                                        on confusion as to the
                                                        affiliation of the parties,
                                                        which have both been
                                                        known by the name
                                                        “Thrive” for years.


                                            33
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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (116:11-   Defendant’s Objections:
 117:4)
                                                          Page 116:11-117:1; 117:4:
 Page 116                                                 Irrelevant, Fed. Evid. 401,
 11    Q.    Could you turn to page 9099? Are             402; Prejudicial, Fed. R.
 12          you with me?                                 Evid. 403 (relates solely to
 13    A.    Yes.                                         abandoned color cosmetics
 14    Q.    Can you read the bold sentence               claim)
 15          towards the top?
 16    A.    "Thrive is different in two                  Plaintiff’s Response:
 17          ways."
 18    Q.    And the two sentences below that?            Ms. Bodnar contacted
 19    A.    "Thrive is the only                          Plaintiff in 2016 claiming
 20          cause-based beauty company. Thrive has       she would always use the
 21          propriety product development."              term “Thrive” together with
 22    Q.    Are these referring to Thrive                the term “Causemetics”.
 23          Causemetics?                                 This document, from around
 24    A.    Yes.                                         the same time of Ms.
 25    Q.    I don't see Causemetics anywhere             Bodnar’s statements,
 Page 117                                                 demonstrates that statement
 1           on this page. Do you?                        is untrue and that she hid
 ...                                                      information in her email to
 4     A.    No.                                          Plaintiff in 2016. The
                                                          information in this
                                                          document is also relevant to
                                                          show Defendant has long
                                                          used the term “Thrive”
                                                          alone to refer to itself,
                                                          which supports a finding of
                                                          false designation of origin
                                                          or infringement based on
                                                          confusion as to the
                                                          affiliation of the parties.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (117:19-   Defendant’s Objections:
 118:11)
                                                          Page 117:19-118:8; 118:11:
 Page 117                                                 Irrelevant, Fed. Evid. 401,
 19    Q.    Can you go to page 9101?                     402; Prejudicial, Fed. R.
 20    A.    Yes.

                                           34
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 21    Q.   And states at the top: Product            Evid. 403 (long predates
 22         Road Map 2017.                            sale of skincare products)
 23         Do you see that?
 24    A.   Mm-hmm. I do, yes.                        Plaintiff’s Response:
 25    Q.   What is meant by Product Road Map         Ms. Bodnar emailed
 Page 118                                             Plaintiff in 2016 claiming
 1          2017?                                     her company only sold color
 2     A.   I don't recall.                           cosmetics and would always
 3     Q.   Do you know if this was accurate          use the term “Thrive”
 4          as of January 2016?                       together with the term
 5     A.   I don't recall.                           “Causemetics”. This
 6     Q.   Could this have been                      document, which predates
 7          representative of Thrive's plans as of    Ms. Bodnar’s email to
 8          January 2016?                             Plaintiff, is relevant to
 ...                                                  demonstrate: (1) date of
 11    A.   I don't recall.                           Defendant’s plans to expand
                                                      into skincare market and
                                                      Defendant’s frequent use of
                                                      the term “Thrive” alone to
                                                      refer to its company, both of
                                                      which contradict statements
                                                      made by Ms. Bodnar to
                                                      Plaintiff; (2) Ms. Bodnar
                                                      hid information concerning
                                                      expansion plans from
                                                      Plaintiff in 2016 email,
                                                      supporting Plaintiff’s
                                                      opposition to laches
                                                      defense; and (3)
                                                      Defendant’s long used the
                                                      term “Thrive” alone to refer
                                                      to itself supports a finding
                                                      of false designation of
                                                      origin or infringement based
                                                      on confusion as to the
                                                      affiliation of the parties,
                                                      which have both been
                                                      known by the name
                                                      “Thrive” for years.

                                          35
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 Defendant’s Counter-Designation of Karissa Bodnar
 (118:20-119:1) [only if objections to preceding
 designation are overruled]:

 Page 118
 20    Q.    Sure. Do you recall any of TCI's
 21          plans for future products as of January
             2016?
 22    A.    I remember us working on
 23          mascara that would ultimately become
 24          Liquid Lash Extensions -- Liquid Lash
 25          Extensions Mascara is what I recall from
 Page 119
 1           that time.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (119:2-     Defendant’s Objections:
 121:5)
                                                           Page 119:2-119:6; 119:8;
 Page 119                                                  119:10-24; 120:2, 4-6, 9,
 2     Q.    This document states, "Skincare;              11-14, 17, 19-21: Irrelevant,
 3           three SKUs." Do you see that?                 Fed. Evid. 401, 402;
 4     A.    I see it on the document.                     Prejudicial, Fed. R. Evid.
 5     Q.    Was that accurate for TCI's plan              403 (long predates sale of
 6           as of January 2016?                           skincare products)
 ...
 8     A.    I don't recall.                               Page 120:22-121:5:
 ...                                                       Hearsay, Fed. R. Evid. 802;
 10    Q.    So it's possible that could have              No foundation, Fed. R.
 11          been an accurate description of TCI's plans   Evid. 602.
             as
 12          of January 2016?                              Plaintiff’s Response:
 13    A.    I don't recall.
 14    Q.    Do you have any reason to doubt               Ms. Bodnar emailed
 15          the date of the email sending these slides?   Plaintiff in 2016 claiming
 16    A.    No.                                           her company only sold color
 17    Q.    It came from your account, right?             cosmetics and would always
 18    A.    Yes.                                          use the term “Thrive”
 19    Q.    So we could check your account to             together with the term
 20          make sure the date is accurate, right?        “Causemetics”. This

                                           36
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 21    A.   Yes.                                        document, which predates
 22    Q.   And this document states,                   Ms. Bodnar’s email to
 23         "Skincare; three SKUs." And it was sent     Plaintiff, is relevant to
 24         January 2016; is that right?                demonstrate: (1) date of
 ...                                                    Defendant’s plans to expand
 Page 120                                               into skincare market and
 ...                                                    Defendant’s frequent use of
 2     A.   Yes.                                        the term “Thrive” alone to
 ...                                                    refer to its company, both of
 4     Q.   So is it reasonable to believe              which contradict statements
 5          somebody within TCI planned skincare        made by Ms. Bodnar to
            releases                                    Plaintiff; (2) Ms. Bodnar
 6          in 2017?                                    hid information concerning
 ...                                                    expansion plans from
 9     A.   I don't know.                               Plaintiff in 2016 email,
 ...                                                    supporting Plaintiff’s
 11    Q.   Do you know where this                      opposition to laches
 12         information might have come from?           defense; and (3)
 13    A.   I don't recall.                             Defendant’s long used the
 14    Q.   You could have written this?                term “Thrive” alone to refer
 ...                                                    to itself supports a finding
 17    A.   I don't know.                               of false designation of
 ...                                                    origin or infringement based
 19    Q.   And you don't recall if anybody             on confusion as to the
 20         else might have written this?               affiliation of the parties,
 21    A.   No.                                         which have both been
 22    Q.   Going onto the next page, 9102.             known by the name
 23         Can you read the bullet point at the top,   “Thrive” for years.
 24         please?
 25    A.   "89 percent of US
 Page 121
 1          customers" -- sorry.
 2          "89 percent of US consumers
 3          are likely to switch brands to one
 4          associated with a cause, given comparable
 5          price and quality."




                                          37
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 Defendant’s Counter-Designation of Karissa Bodnar
 (121:6-12) [only if objections to preceding designation
 are overruled]:

 Page 121
 6     Q.    Is that accurate?
 7     A.    It's attributed to 2013 study
 8           done by (inaudible) Communications.
 9     Q.    Do you recall reviewing that
 10          study?
 11    A.    I don't recall reviewing the
 12          study, no.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (121:13-    Defendant’s Objections:
 16)
                                                           Page 121:13-16: Hearsay,
 Page 121                                                  Fed. R. Evid. 802; No
 13    Q.    Is there any reason to doubt the              foundation, Fed. R. Evid.
 14          accuracy of this information in this TCI      602.
 15          slide?
 16    A.    No.                                           Plaintiff’s Response:

                                                           Not hearsay, as it is an
                                                           admission of a party
                                                           opponent. FRE 802(d)(2).
                                                           Witness demonstrated
                                                           personal knowledge of
                                                           document, permitting
                                                           admission under FRE 602.


 Plaintiff’s Designation of K. Bodnar 30(b)(6) (122:23-    Defendant’s Objections:
 124:6)
                                                           Page 122:23-124:6:
 Page 122                                                  Irrelevant, Fed. Evid. 401,
 23    Q.    Can you go to page 9105, please?              402; Prejudicial, Fed. R.
 24    A.    I am there.                                   Evid. 403 (relates solely to
 25    Q.    Can you read the title at the top             abandoned color cosmetics
 Page 123                                                  claim)
                                           38
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 1           of the page?
 2     A.    "Thrive in the news."                         Plaintiff’s Response:
 3     Q.    Is Causemetics on this page
 4           anywhere?                                     Relevant to demonstrate: (1)
 5     A.    No.                                           Defendant’s frequent use of
 6     Q.    To your understanding, is the                 the term “Thrive” alone to
 7           term "Thrive" referring to Thrive             refer to its company, which
             Causemetics?                                  contradicts statements made
 8     A.    Yes.                                          by Ms. Bodnar to Plaintiff;
 9     Q.    Can you go the next page, 9106,               and (2) Defendant’s long
 10          please? Are you with me?                      used the term “Thrive”
 11    A.    Yeah, I am.                                   alone to refer to itself
 12    Q.    Can you read the quote attributed             supports a finding of false
 13          to Michelle Phan, please?                     designation of origin or
 14    A.    "Thrive's products are                        infringement based on
 15          unprecedented because of Karissa's            confusion as to the
 16          tenacious drive to develop the best           affiliation of the parties,
 17          products out there."                          which have both been
 18    Q.    And can you read the next quote               known by the name
 19          attributed to Elena George, please?           “Thrive” for years.
 20    A.    "Thrive has changed the game
 21          and I am grateful to be a part of the
 22          team. I use their products on Robin
 23          Roberts, Michele Gayle King, Vivica A.
             Fox
 24          and more. Everyone at ABC uses Thrive.
 25          It's the unofficial beauty brand of ABC."
 Page 124
 1     Q.    Does the word "Causemetics"
 2           appear in these quotes anywhere?
 3     A.    No.
 4     Q.    Did it appear on this page
 5           anywhere?
 6     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (125:2-5)   Defendant’s Objections:

 Page 125                                                  Page 125:2-5: Irrelevant,
 2     Q.    Did you ever tell these people to             Fed. Evid. 401, 402;

                                           39
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 3           refer to Thrive Causemetics by its full       Prejudicial, Fed. R. Evid.
             name,                                         403 (relates solely to
 4           not just Thrive?                              abandoned color cosmetics
 5     A.    I don't recall.                               claim)

                                                           Plaintiff’s Response:

                                                           Ms. Bodnar contacted
                                                           Plaintiff in 2016 claiming
                                                           she would always use the
                                                           term “Thrive” together with
                                                           the term “Causemetics”.
                                                           This testimony shows she
                                                           knew that was untrue.
                                                           Further, this testimony
                                                           supports a finding of false
                                                           designation of origin or
                                                           infringement based on
                                                           confusion as to the
                                                           affiliation of the parties,
                                                           which are both known as
                                                           “Thrive”.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (129:1-7)   Defendant’s Objections:

 Page 129                                                  Page 129:1-7: Irrelevant,
 1     Q.    And who were those angel                      Fed. Evid. 401, 402
 2           investors?
 3     A.    I don't recall specifically                   Plaintiff’s Response:
 4           for this time frame. A few of our angel       Relevant to witness bias that
 5           investors include Jenni Bodnar, Steve         both of her parents are
 6           Bodnar, Blythe Jack is another angel          investors in Defendant.
 7           investor.                                     United States v. Hankey,
                                                           203 F.3d 1160, 1171 (9th
                                                           Cir. 2000) (“Evidence is
                                                           relevant . . . if it has a mere
                                                           tendency to impeach a
                                                           witness' credibility by a
                                                           showing of bias”). In

                                           40
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                                                            addition, Blythe Jack is
                                                            referenced in an exhibit in
                                                            which she contacted Ms.
                                                            Bodnar concerning Plaintiff
                                                            and potential confusion with
                                                            Plaintiff’s brand. This
                                                            testimony lays foundation
                                                            for identity of Ms. Jack.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (137:6-14)

 Page 137
 6     Q.    Ms. Bodnar, does TCI advertise
 7           with online advertisement?
 8     A.    We advertise on Facebook,
 9           Instagram, TickTok, to name a few.
 10    Q.    And do you advertise on Google?
 11    A.    Yes, we do.
 12    Q.    And do you purchase keywords for
 13          advertising purposes?
 14    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (137:25-
 138:16)

 Page 137
 25    Q.    Is there a target audience for
 Page 138
 1           TCI advertisement?
 2     A.    I mean, I would say women are
 3           the target audience. However, we believe
 4           in being inclusive, so we don't exclude
 5           anybody from being able to use our
 6           products, whether it's purchasing the
 7           products or also the philanthropy that we
 8           do.
 9     Q.    Do men purchase TCI products?
 10    A.    I am sure they do.
 11    Q.    Do you track purchasers by
 12          gender?
                                              41
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 13    A.    We do track, yes, we do.
 14    Q.    And where is that data kept?
 15    A.    The data is provided by
 16          Google, mostly, I would say.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (139:20-
 140:3)

 Page 139
 20    Q.    And how about within the
 21          demographic? Do you target any particular
             age
 22          of consumer?
 23    A.    No.
 24    Q.    Does TCI sell skincare products
 25          to men?
 Page 140
 ...
 3     A.    I don't know.

 Defendant’s Counter-Designation of Karissa Bodnar
 (140:12-21):

 Page 140
 12    Q.    Does TCI advertise to men?
 13    A.    To my knowledge, our
 14          advertising efforts are targeted towards
 15          women. For Mother's Day, we may
             advertise
 16          to the men as a gift opportunity for the
 17          mothers in their lives, but the intention
 18          is that the products -- we really want the
 19          products to help women thrive. Again, we
 20          don't -- we don't exclude people, but
 21          women are...

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (140:22-
 24)


                                            42
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 Page 140
 22    Q.    So at times TCI placed ads in
 23          sources targeted at male customers?
 24    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (148:19-   Defendant’s Objections:
 21)
                                                          Page 148:19-21: Irrelevant,
 Page 148                                                 Fed. Evid. 401, 402;
 19    Q.    Does TCI purchase keywords                   Prejudicial, Fed. R. Evid.
 20          relating to its competitors's names?         403
 21    A.    I don't recall.
                                                          Plaintiff’s Response:

                                                          Relevant to Defendant’s
                                                          advertising practices. Also,
                                                          the parties are competitors,
                                                          and this could indicate
                                                          purchase of keywords
                                                          relating to Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (158:14-
 24)

 Page 158
 14    Q.    Do both TCI and Thrive Natural
 15          Care sell moisturizer?
 ...
 18    Q.    You can answer.
 19    A.    I know Thrive Causemetics
 20          does. I can't speak to what TCI is
 21          currently doing today.
 22    Q.    Do you know if TNC has ever sold
 23          moisturizer?
 24    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (159:11-
 14)


                                           43
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 Page 159
 11    Q.    Is Thrive Natural Care's
 12          moisturizer competing with TCI's
             moisturizer?
 ...
 14    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (159:19-   Defendant’s Objections:
 25)
                                                          Page 159:19-25: Irrelevant,
 Page 159                                                 Fed. Evid. 401, 402;
 19    Q.    Has TCI ever bought a keyword for            Prejudicial, Fed. R. Evid.
 20          Thrive alone?                                403
 21    A.    Yes, to the best of my
 22          knowledge, yes.                              Plaintiff’s Response:
 23    Q.    On which platform?
 24    A.    To the best of my knowledge,                 Relevant to Defendant’s
 25          Google.                                      advertising practices and
                                                          purchase of keywords to
                                                          place advertisements that
                                                          use Plaintiff’s registered
                                                          trademark to advertise and
                                                          sell Defendant’s products,
                                                          causing confusion and
                                                          damage to Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (161:10-
 11)

 Page 161
 10    Q.    Why does TCI buy keywords?
 11    A.    To reach customers.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (161:18-   Defendant’s Objections:
 162:20)
                                                          Page 162:11-20: Irrelevant,
 Page 161                                                 Fed. Evid. 401, 402;
 18    Q.    How does buying a keyword help               Prejudicial, Fed. R. Evid.
 19          someone see TCI?
                                           44
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 20    A.    I don't understand the                         403; No foundation, Fed. R.
 21          question.                                      Evid. 602
 22    Q.    Well, you said that buying a
 23          keyword may help them see us, right?           Plaintiff’s Response:
 24    A.    Yes.
 25    Q.    What do you mean by that?                      Relevant to Defendant’s
 Page 162                                                   advertising practices and
 1     A.    If you purchase a keyword,                     purchase of keywords to
 2           like for example, eyelashes, depending on      place advertisements that
 3           the success of that and at any given           use Plaintiff’s registered
 4           minute, as it's constantly changing,           trademark to advertise and
 5           someone may see our false eyelashes due to     sell Defendant’s products,
 6           that purchase.                                 causing confusion and
 7     Q.    If someone searches for false                  damage to Plaintiff. Also
 8           eyelashes, does it then push your ad up to     relevant to harm to Plaintiff
             the                                            in that it demonstrates
 9           top?                                           Defendant bidding on
 10    A.    It may.                                        keywords drives up cost for
 11    Q.    And if you buy the keyword                     Plaintiff to bid on keywords
 12          "thrive" and someone searches thrive, it can   which consist of its own
 13          push your ad up to the top?                    registered trademark.
 14    A.    It may.                                        Witness demonstrated
 15    Q.    Do you bid for keywords?                       personal knowledge of
 16    A.    Yes.                                           Defendant’s advertising
 17    Q.    So if you bid for a certain                    practices, permitting
 18          amount, can someone else outbid you for a      admission under FRE 602.
 19          higher amount?
 20    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (167:4-24)

 Page 167
 4     (Exhibit No. 26 marked for
 5     identification.)
 ...
 7     Q.     Showing you Exhibit 26. Do you
 8            recognize this spreadsheet?
 9     A.     Not this exact spreadsheet.
 10    Q.     Do you recognize the format of

                                           45
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 11          this spreadsheet?
 12    A.    I recognize words on this.
 13    Q.    Do you know if this was prepared
 14          by TCI?
 15    A.    It looks like it.
 16    Q.    And do you know where this data
 17          came from?
 18    A.    From looking at this, it would
 19          likely be Google Analytics.
 20    Q.    What does this spreadsheet show?
 ...
 23    A.    Yeah. I mean, it's
 24          a search keyword that has campaign.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (174:5-14)

 Page 174
 5     Q.    Do you have knowledge of TCI
 6           purchasing any of the keywords listed on
             this
 7           document?
 8     A.    Yes.
 9     Q.    You have knowledge of TCI
 10          purchasing Thrive Lip Balm keyword?
 11    A.    I am sure we purchased
 12          something in that vein. Again, throughout
 13          the course of the business, we have
 14          purchased thousands of keywords.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (174:21-
 175:3)

 Page 174
 21    Q.    Do you have knowledge of TCI
 22          purchasing numerous keywords that don't
 23          include the word Causemetics, but do
             include
 24          the word Thrive?
 25    A.    Yes.
                                           46
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 Page 175
 1     Q.    Is that still a practice of TCI's
 2           today?
 3     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (175:18-
 176:1)

 Page 175
 18    Q.    Does keyword-based advertising
 19          help TCI reach its customers?
 20    A.    Yes.
 21    Q.    Why do you say that?
 22    A.    Because it does.
 23    Q.    Has TCI used the phrase Thrive
 24          Tribe in its advertising in the past?
 25    A.    In the past we have. We do
 Page 176
 1           not currently.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (176:18-
 24)

 Page 176
 18    Q.    Okay. We had just started
 19          talking about TCI's use of the phrase Thrive
 20          Tribe. You said you don't use that phrase
 21          anymore in advertisement?
 22    A.    No.
 23    Q.    When did TCI stop doing so?
 24    A.    In 2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (177:19-
 21)

 Page 177
 19    Q.    Has TCI used the phrase Thrive
 20          Lab in its advertisement?
 21    A.    We have in the past, yeah.
                                                 47
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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (180:7-25)

 Page 180
 7     Q.    When did Thrive Causemetics first
 8           become aware of Thrive Natural Care?
 9     A.    I believe it was in 2016.
 10    Q.    And how did it become aware?
 11    A.    Based on my recollection, it
 12          was the USPTO's office action.
 13    Q.    And what office action was that?
 14    A.    It was our application for
 15          Thrive Causemetics, the trademark.
 16    Q.    And did the trademark get
 17          rejected?
 18    A.    The first time we applied for
 19          it, yes.
 20    Q.    And was that because of the
 21          Thrive Natural Care trademark registration?
 ...
 24    Q.    You can answer.
 25    A.    Partially.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (180:17-
 19)

 Page 180
 17    Q.    Did you believe Thrive Natural
 18          Care didn't target women?
 19    A.    Honestly, I don't know.

 Defendant’s Counter-Designation of Karissa Bodnar
 (181:21-182:3):

 Page 181
 21    Q.    Did TCI consider changing its
 22          name?
 23    A.    No.
 24    Q.    Why not?
                                           48
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 25    A.    We really -- we operate in

 Page 182
 1           separate spaces and really don't -- we see
 2           our target markets as completely
 3           different.

 Defendant’s Counter-Designation of Karissa Bodnar
 (183:4-12):

 Page 183
 4     Q.    Well, did anyone at TCI look up
 5           Thrive Natural Care after finding out about
 6           its trademark registration?
 7     A.    Yeah. I looked at their
 8           website.
 9     Q.    And did you look at what products
 10          they sold?
 11    A.    To the best of my recollection
 12          it was men's shaving products.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (183:13-
 15)

 Page 183
 13    Q.    But you said you didn't know if
 14          they targeted women or not?
 15    A.    No, I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (183:16-
 23)

 Page 183
 16    (Exhibit No. 27 marked for
 17    identification.)
 ...
 19    Q.     Okay. Showing you what has been
 20           marked as Exhibit 27. Do you recognize this
 21           document?
                                           49
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 22    A.    I recognize it from
 23          preparation with counsel.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (187:6-16)

 Page 187
 6     Q.    Looking at Exhibit 27, it is a
 7           trademark search result showing Thrive
             Natural
 8           Care's trademark registration and
             application;
 9           is that correct?
 10    A.    Yes.
 11    Q.    And you agree that TCI had this
 12          knowledge as of August 2015?
 13    A.    Yes.
 14    Q.    Did TCI take any action based on
 15          having the knowledge in this report?
 16    A.    I don't believe so.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (187:22-
 188:3)

 Page 187
 22    Q.    Has TCI knowledge of Thrive's
 23          ever affected TCI's business plans in any
             way?
 24    A.    No.
 25    Q.    Did that knowledge have any
 Page 188
 1           effect on TCI's decision to expand into
 2           skincare products?
 3     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (195:9-16)

 Page 195
 9     Q.    When was the first time TCI made
 10          contact with Thrive Natural Care?
                                           50
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 11    A.    I believe it was towards the
 12          end of 2015 or early 2016.
 13    Q.    And what sort of contact was
 14          that?
 15    A.    I reached out to TNC's
 16          customer service email.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (196:9-
 197:13)

 Page 196
 9     (Exhibit No. 30 marked for
 10    identification.)
 ...
 14    Q.     Do you recognize what's been
 15           marked Exhibit 30?
 16    A.     I recognize that it came from
 17           my email address.
 18    Q.     This is an email chain that came
 19           from your email account?
 20    A.     Yes.
 21    Q.     Are the dates of the email
 22           exchange accurate?
 23    A.     I believe so.
 24    Q.     At the bottom, the bottom third
 25           of the document, it looks like there's an
 Page 197
 1            email you sent on April 22, 2016. Do you
              see
 2            that?
 3     A.     Yes.
 4     Q.     Is that the first contact that
 5            you referred to a minute ago?
 6     A.     I believe so.
 7     Q.     Do you recall any prior contact
 8            before this?
 9     A.     I don't recall any prior
 10           contact.
 11    Q.     Did you know of Thrive's

                                            51
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 54 of 175 Page ID #:8048




 12          trademark registration by this point?
 13    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (197:21-   Defendant’s Objections:
 198:1)
                                                          Page 197:21-23; 198:1:
 Page 197                                                 Argumentative and
 21    Q.    Why did TCI feel it needed                   mischaracterizes document,
 22          Thrive's permission to use the word Thrive   Fed. R. Evid. 611(a)
             in
 23          its brand name?                              Plaintiff’s Response:
 ...
 Page 198                                                 Question does not waste
 1     A.    I don't recall.                              time or harass or unduly
                                                          embarrass the witness. The
                                                          referenced email from Ms.
                                                          Bodnar specifically asks
                                                          permission to use the word
                                                          “thrive” in Defendant’s
                                                          brand name; document is
                                                          not mischaracterized. No
                                                          basis to strike under FRE
                                                          611(a).
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (198:7-
 199:19)

 Page 198
 7     Q.    And do you -- and you stated you
 8           wanted to discuss permission to use the
             word
 9           Thrive as part of our brand name?
 10    A.    Yes.
 11    Q.    Why did you want to discuss that
 12          issue?
 ...
 21    A.    Yeah, I don't
 22          recall.
 ...
 24    Q.    Were you worried about trademark
                                           52
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 55 of 175 Page ID #:8049




 25          infringement liability?
 Page 199
 ...
 6     A.    I don't recall.
 ...
 8     Q.    You state below that:
 9           "We are a color cosmetics brand."
 10          Do you see that?
 11    A.    Yes.
 12    Q.    What did you mean by that?
 13    A.    In April of 2016, we sold
 14          color cosmetics.
 15    Q.    Didn't TCI have plans to expand
 16          into skincare at this time?
 ...
 19    A.    I don't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (200:4-9)   Defendant’s Objections:

 Page 200                                                  Page 200:4-6, 9: Asked and
 4     Q.    And so you don't recall if TCI                answered, Fed. R. Evid.
 5           had plans to expand into skincare when this   611(a)
 6           email was sent?
 ...                                                       Plaintiff’s Response:
 9     A.    I don't recall.
                                                           Question does not waste
                                                           time or harass or unduly
                                                           embarrass the witness. No
                                                           basis to strike under FRE
                                                           611(a).
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (201:12-
 202:2)

 Page 201
 12    Q.    You state further in your email:
 13          "We only help women and I see
 14          that you are a men's line."
 15          Did you write that?
 16    A.    It appears so in this email.
                                           53
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 56 of 175 Page ID #:8050




 17    Q.    On what did you base the
 18          conclusion that Thrive Natural Care was a
 19          men's line?
 20    A.    I don't recall specifically.
 21          I just -- from my recollection, Thrive
 22          Natural Care had men's shaving products.
 23           It was a different space than us.
 24    Q.    Did TCI have any information on
 25          the demographics of Thrive Natural Care's
 Page 202
 1           customers?
 2     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (203:11-
 204:18)

 Page 203
 11    Q.    Well, did you think that this
 12          gave you permission to use the Thrive
             name?
 ...
 14    A.    I don't recall.
 ...
 16    Q.    Is there anything in Mr.
 17          McIntosh's response that you would think
             gave
 18          you permission as you requested?
 19    A.    I don't know.
 20    Q.    Well, you sent a one word
 21          response to Mary Baker Anderson, Ugh,
 22          exclamation point. Do you see that?
 23    A.    Yes.
 24    Q.    Why did you say Ugh?
 25    A.    I don't recall.
 Page 204
 1     Q.    Who is Mary Baker Anderson?
 2     A.    She was a contract finance
 3           person that we worked for -- worked with
 4           for a short period of time.

                                           54
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 5     Q.    Did TCI take any action as a
 6           result of this email exchange?
 7     A.    I don't recall.
 8     Q.    Did TCI stop using Thrive as part
 9           of its name?
 10    A.    No.
 11    Q.    Did TCI change the way it
 12          advertised?
 13    A.    I don't understand the
 14          question.
 15    Q.    Well, did this response from
 16          Thrive Natural Care have any effect at all
             on
 17          TCI's business practices?
 18    A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (205:8-16)

 Page 205
 8     (Exhibit No. 31 marked for
 9     identification.)
 ...
 12    Q.     Showing you Exhibit 31. Do you
 13           recognize this exhibit?
 14    A.     I recall this document from
 15           discussions with counsel in preparation
 16           for this.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (205:23-
 206:25)

 Page 205
 23    Q.    Do you have any reason to doubt
 24          that you did receive the letter this
 25          March 2017?
 Page 206
 1     A.    No.
 2     Q.    And this letter states: "TCI
 3           must immediately cease all use of the term
                                             55
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 4           Thrive."
 5           Do you see that in the first
 6           paragraph?
 7     A.    I see that in the first
 8           paragraph.
 9     Q.    In response to this letter, did
 10          TCI stop using the term Thrive?
 11    A.    No.
 12    Q.    Did this letter have any effect
 13          on TCI's business practices at all?
 14    A.    No.
 15    Q.    Did it change the way TCI
 16          advertised at all?
 17    A.    No.
 18    Q.    At some point did TCI seek to
 19          reach out directly to Natural Care again?
 20    A.    Yes.
 21    Q.    When was that?
 22    A.    I don't recall the specific --
 23          I don't recall the specific date.
 24    Q.    Would that have been in 2019?
 25    A.    It could have been.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:3-5)

 Page 210
 3     Q.    So you were repeatedly trying to
 4           call Alex McIntosh; is that correct?
 5     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:9-20)

 Page 210
 9     Q.    Did you call him?
 10    A.    My executive assistant did.
 11    Q.    Did you speak with him?
 12    A.    Yes.
 13    Q.    And what did you speak with Mr.
 14          McIntosh about?
                                           56
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 59 of 175 Page ID #:8053




 15    A.    We spoke about a potential
 16          coexistence agreement, to the best of my
 17          recollection.
 18    Q.    What about a coexistence
 19          agreement did you talk about?
 20    A.    I honestly can't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:24-
 211:2)

 Page 210
 24    Q.    What was Thrive Causemetics
 25          seeking in the coexistence agreement?
 Page 211
 ...
 2     A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (222:13-
 16)

 Page 222
 13    Q.    Did this call with Mr. McIntosh
 14          have any effect at all on the way TCI did
 15          business afterwards?
 16    A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (222:22-
 223:7)

 Page 222
 22    Q.    After this call in
 23          June 2019, did TCI continue to release
 24          additional skincare products on the market?
 25    A.    Yes.
 Page 223
 1     Q.    Do you remember how many skincare
 2           products TCI released after this June 2019
 3           call?
 4     A.    I don't recall the specific
                                           57
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 60 of 175 Page ID #:8054




 5           number.
 6     Q.    Was it more than five?
 7     A.    Yes.

 Defendant’s Counter-Designation of Karissa Bodnar
 (226:5-227:1):

 Page 226
 5     Q.    Has TCI been able to register its
 6           trademark for the Thrive Causemetics
             name?
 7     A.    No.
 8     Q.    Has it tried to?
 9     A.    Yes.
 10    Q.    What happened in the first
 11          instance?
 12    A.    Based on my recollection, it
 13          was rejected on the basis of both Thrive
 14          and Causemetics, and then it was the same
 15          examiner, I believe, overturned their
 16          objection to that.
 17    Q.    Yet that application didn't
 18          register, did it?
 19    A.    No.
 20    Q.    Why not?
 21    A.    At the time, we were -- we
 22          didn't have enough money to continue
 23          paying the legal fees, specifically.
 24    Q.    And did TCI -- sorry. Go ahead.
 25    A.    The business was just getting

 Page 227
 1           started in that respect.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (227:2-10)

 Page 227
 2     Q.    Did TCI try again to register the
 3           Thrive Causemetics?
                                           58
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 61 of 175 Page ID #:8055




 4     A.    Yes.
 5     Q.    What happened with that
 6           application?
 7     A.    It was rejected.
 8     Q.    Did the rejection have to do with
 9           Thrive Natural Care trademark registration?
 10    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (228:1-2,   Defendant’s Objections:
 22-25)
                                                           Page 228:1-2; 22-25:
 Page 228                                                  Irrelevant, Fed. Evid. 401,
 1     (Exhibit No. 34 marked for                          402; Prejudicial, Fed. R.
 2     identification.)                                    Evid. 403 (unrelated to
 ...                                                       THRIVE)
 22    Q.     Ms. Bodnar, do you agree that you
 23           had possession of Exhibit 34 as of           Plaintiff’s Response:
 24           August 2015?
 25    A.     Yes.                                         Testimony and evidence is
                                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE
                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (229:4-7)   Defendant’s Objections:

 Page 229
                                           59
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 4     Q.    And do you agree that this                    Page 229:4-7: Irrelevant,
 5           document reflects a trademark registration    Fed. Evid. 401, 402;
             on                                            Prejudicial, Fed. R. Evid.
 6           the first page for Causemetics?               403 (unrelated to THRIVE)
 7     A.    Yes.
                                                           Plaintiff’s Response:

                                                           Testimony and evidence is
                                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE
                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (229:21-    Defendant’s Objections:
 230:2)
                                                           Page 229:21-230:2:
 Page 229                                                  Irrelevant, Fed. Evid. 401,
 21    Q.    Did the knowledge of this                     402; Prejudicial, Fed. R.
 22          registration change as to Thrive's business   Evid. 403 (unrelated to
 23          practices?                                    THRIVE)
 24    A.    No.
 25    Q.    Did you stop using Causemetics as             Plaintiff’s Response:
 Page 230
 1           part of your name?                            Testimony and evidence is
 2A.         No.                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE

                                           60
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                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (230:15-    Defendant’s Objections:
 24)
                                                           Page 230:15-24:Irrelevant,
 Page 230                                                  Fed. Evid. 401, 402;
 15    Q.    At some point did Thrive                      Prejudicial, Fed. R. Evid.
 16          Causemetics contact the owner of the          403 (unrelated to THRIVE)
 17          Causemetics registration?
 18    A.    I believe our counsel did.                    Plaintiff’s Response:
 19    Q.    Did Thrive Causemetics take
 20          action to attempt to cancel the Causemetics   Testimony and evidence is
 21          trademark?                                    admissible under FRE
 22    A.    I believe our counsel did.                    404(b)(2) to show motive,
 23    Q.    Did you approve that action?                  plan, or knowledge or FRE
 24    A.    I don't recall.                               406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to

                                           61
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                                                            infringement and
                                                            willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (231:8-13)   Defendant’s Objections:

 Page 231                                                   Page 231:8-13: Irrelevant,
 8     Q.    Did the party settle?                          Fed. Evid. 401, 402;
 9     A.    Yes.                                           Prejudicial, Fed. R. Evid.
 10    Q.    Did TCI pay to gain control over               403 (unrelated to THRIVE)
 11          the Causemetics registration?
 12    A.    Yes.                                           Plaintiff’s Response:
 13    Q.    How much did TCI pay to settle?
                                                            Testimony and evidence is
                                                            admissible under FRE
                                                            404(b)(2) to show motive,
                                                            plan, or knowledge or FRE
                                                            406 to show routine practice
                                                            of Defendant. Defendant
                                                            and Ms. Bodnar knew that
                                                            both portions of the brand
                                                            name “thrive” and
                                                            “causemetics” were
                                                            registered trademarks of
                                                            third parties. Yet Defendant
                                                            continued to use both words
                                                            in complete disregard of
                                                            third-party trademark rights.
                                                            These facts are relevant to
                                                            infringement and
                                                            willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (232:1-11)

 Page 232
 1     A.    I believe it was
 2           $125,000.
 ...
 4     Q.    And do you know when that
 5           settlement occurred?
 6     A.    I don't recall the specific
 7           date.
                                           62
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 8     Q.     Do you recall the year?
 9     A.     I believe it was 2019. It
 10           would have been somewhere in the time
 11           range of 2018 to 2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (234:6-18)   Defendant’s Objections:

 Page 234                                                   Page 234:6-7, 9-18:
 6     (Exhibit No. 35 marked for                           Irrelevant, Fed. Evid. 401,
 7     identification.)                                     402; Prejudicial, Fed. R.
 ...                                                        Evid. 403 (relates solely to
 9     Q.     Looking at document Bates number              abandoned color cosmetics
 10           ending in 426, it looks like a Thrive         claim)
 11           Instagram post; is that correct?
 12    A.     Yes.                                          Plaintiff’s Response:
 13    Q.     And it has a hashtag Thrive
 14           Tribe. Do you see that?                       Relevant to show Defendant
 15    A.     Yes.                                          has long used the term
 16    Q.     Is this a Thrive Causemetics                  “Thrive” alone to refer to
 17           Instagram post?                               itself, along with the term
 18    A.     Yes.                                          “Thrive Tribe” which was
                                                            utilized by Plaintiff well
                                                            before Defendant, which
                                                            supports a finding of false
                                                            designation of origin or
                                                            infringement based on
                                                            confusion as to the
                                                            affiliation of the parties.




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         TRIAL EXHIBIT NO. 10
0   Vegan, Cruelty-Free Skincare - -   X   +                                                         Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 67 of 175 Page ID #:8061
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      LAUNCH DATE: Feb 24, 2021

      SIZE: 2fl oz/ 60ml

      WHAT IS IT?
      In spired by in-office microdermabrasion,
                                                    OD
      this high-performance instan t facial is
      your solution for a smoot he r, glowing
      complexion in minutes.

      In fused with smart Self-Adjusting
      Mi cro-Exfolia nts '" and a proprietary
      multi -acid blend of fruit enzymes,
      AHAs and BHAs.




    CON FIDENTIAL                                                          TCI_00027093
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         TRIAL EXHIBIT NO. 17
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  Message


  From:          Karissa Bodnar [kbodnar@thrivecausemetics.com]
  on behalf of   Karissa Bodnar <kbodnar@thrivecausemetics.com> [kbodnar@thrivecausemetics.com]
  Sent:          7/27/2016 12:59:29 AM
  To:            Cohen, Jennifer [Jennifer.Cohen@sephora.com]
  Subject:       Coming to SF 8/10



  Hi Jennifer,

  I hope this email finds you well and would love to schedule a follow-up phone conversation with you. Could
  you let me know when is best for you?

  Since we spoke, we've refined our logo (an example in the attached presentation) and updated packaging
  to insert more of a playful personality with David's input.

  I will be in San Francisco on August 10th; it would be great to connect in person. If you don't have time to
  meet, is there someone on your team I could meet with? Our updated brand presentation is attached and it
  includes more detail about upcoming products along with what has launched since we spoke.

  Our press and celebrity mentions continue to be off the charts! In July alone, we were featured on ABC's
  People's List, a national primetime show and in US Weekly, People Magazine, Real Simple and Refinery29
  with more placements on the way.

  Best Regards,


  Karissa Bodnar
  Founder & CEO I Thrive Causemetics
  thrivecausemetics.com




CONFIDENTIAL                                                                                         TCI_00019120
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CONFIDENTIAL                                                                                        TCI_00019121
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                    From Sephora Cast Member




                       to Beauty Brand Founder

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                Thrive Causemetics creates luxury cosmetics that are

           vegan, cruelty-free and created without parabens, sulfates

               + latex-free. For every product you purchase, we donate
               one to empower a woman in need. We name all of our

          products after ordinary women doing extraordinary things.




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                                 Karissa Bodnar, Founder + CEO




               Karissa Bodnar, 27, began her career with Sephora at 18, where she worked as cast
               member for five years. She pursued her passion for product development; creating
                 and launching products for companies like Clarisonic and L.10real. After losing
                her close friend Kristy at just 24, she started Thrive Causemetics as a mission to
                   positively impact the lives of women through the gift of beauty products.




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                                               Thrive in the News



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           "The secret to achieve Khloe Kardashian's glowing
           gym skin is long-wearing Triple Threat Color Stick."
           -Shape Magazine




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        Khloe Kardashian wearing Triple Threat   Rashida Jones wearing Infinity       Kristin Stewart wearing Infinity
        Color Stick                              Waterproof Brow Liner + Eyeliner     Waterproof Brow Liner + Eyeliner




        Cate Blanchett wearing Kristy Faux       Tracee Ellis Ross wearing Infinity   Reese Witherspoon wearing Infinity
        Lashes in Disney's Cinderella            Waterproof Brow Liner + Eyeliner     Waterproof Brow Liner + Eyeliner




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        Melissa Joan Hart wearing Kristy Faux   Elisabeth Moss wearing Infinity        Olivia Cul po wearing Infinity Waterproof
        Lashes + Infinity Waterproof Eyeliner   Waterproof Brow Liner + Eyeliner       Brow Liner + Eyeliner




        Brooke Burke wearing Infinity           Debi Mazar wearing Robin Faux Lashes   Kaley Cuoco wearing Infinity Waterproof
        Waterproof Brow Liner + Eyeliner                                               Brow Liner + Eyeliner




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        Marisa Tomei wearing Kristy Faux           Jennifer Nettles wearing Infinity   Kendra Wilkinson-Baskett wearing
        Lashes                                     Waterproof Brow Liner + Eyeliner    Robin Faux Lashes




        Ginger Zee is wearing Triple Threat        Riley Keough wearing Infinity       DWTS Cast is wearing Triple Threat
        Color Stick, Robin Faux Lashes, Infinity   Waterproof Brow Liner + Eyeliner    Color Stick, Robin Faux Lashes, Infinity
        Waterproof Brow Liner + Eyeliner                                               Waterproof Brow Liner + Eyeliner



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  "Love Thrive Causemetics! Love what they do for women! Love this eye makeup!"
  -Kelly Clarkson




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               Celebrity Makeup Artists Use + Recommend Thrive


                                          "When my clients are hitting the red carpet, I immediately grab for
                                          my Thrive products! I LOVE everything they make."
                                          -Melissa Schleicher (Carrie Underwood)



               "I can't get enough. If Thrive makes it, I use it on my clients because they
               are the most effective products I've ever used. The cause is near and
               dear to my heart."
               -Jamie Greenberg (Rashida Jones, Kaley Cuoco, Jayma Mays)




                                          "Thrive has changed the game and I am grateful to be a part of the
                                          team. I use their products on all of my celebrity clientele because they
                                          are safe, effective and give back."
                                          -Elena George (Beyonce, Robin Roberts, Michelle Williams)




               "I love the purpose behind Thrive Causemetics. Their amazing products
                are named after inspiring and strong women!"

               -Ashley Donovan (Kelly Clarkson)




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                In 2016, Thrive Causemetics introduced NYFW s first-ever beauty
                 runway show featuring top beauty editors and broadcast talent.




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                               How our Products are Different


          Proprietary Formulas
         We develop proprietary, vegan + cruelty-free formulas in our
          lab, free of parabens, sulfates + latex.

         Celebrity Makeup Artist-Approved
         We collaborate on formulas+ product ideas with a
         handpicked team of celebrity makeup artists.

         Crowdsourcing
          From key ingredients to packaging design, our social media
         community has a voice.

         Medical Experts
         Our professional team of dermatologists + ophthalmologists
         rigorously test and approve formulas for safety and efficacy.




                                                      thrive·
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                                    Why Our Cause Matters

               Cone Communications reports that all things equal, consumers are 89% more
                         likely to switch brands if they are associated with a cause.

                 Thrive Causemetics is the first and only one-for-one luxury beauty brand.




                                                     thrive·
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                          Our Products: Currently Available




                                          Glossy Lip Mark: $26 (9 shades)




                                        Triple Threat Color Stick: $36 (4 shades)




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                            Our Products: Currently Available




                     Infinity Waterproof                     Brilliant Eye Brightener:       Infinity Waterproof
                   Eyeliner: $22 (6 shades)                         $24 (1 shade)         Brow Liner: $23 (2 shades)




                                              Focus Eyeshadow Palette: $36 (2 palettes)



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                          Our Products: Currently Available


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                         Jackie Faux Lashes: $26                        Infinity Waterproof
                                                                        Lash Adhesive: $16




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                        Kristy Faux Lashes: $26                         Robin Faux Lashes: $26




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                                                              Glossy Lip Mark
                                                              $26; NINE SHADES


                                                              What it is
                                                              A vegan liquid lipstick, stain and gloss in one long-lasting,
                                                              featherweight formula.

                                                              What it does
                                                              Sodium hyaluronate and vitamin BS hydrate, plump and lock
                                                              in moisture for all-day pout power.

                                                              Why it's formulated WITHOUT
                                                              Parabens, sulfates, latex + animal ingredients


                            --
                                                              Why it's different
                    Narima                Ruth                Our proprietary formula melts into the lips, depositing true
                                     -         "'Cc   - - -



                                                              color with a demi-gloss finish, leaving a soft stain, sans the
         Coral     Dark Berry     Taupe Shimmer
                                                              chemicals.
                      --                  --


         Karlie      Maya                J oAn n              Karissa's tip
                                                              No lip liner required: line lips with diamond-shaped wand
 Bright Raspberry Deep Blue Red    Plum Mauve
                                                              applicator and fill in.
     -                                    -
      Jean           Taylor              Pamela
     --     ~




     Baby Pink     Bright Red     Brown Mauve



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                                                       #:8094

                                                      Triple Threat Color Stick
                                                      $36; FOUR SHADES


                                                      What it is
                                                      Intense multi-purpose vegan color stick with a built-in brush
                                                      for blending + sculpting.

                                                      What it does
                                                      Age-defying vitamin C + evening primrose oil brighten +
                                                      hydrate.

                                                      Why it's formulated WITHOUT
                                                      Parabens, sulfates, latex + animal ingredients

                                                      Why it's different
                                                      Equipped with a built-in artistry brush, this multi-tasker is all
                                                      you need to glow on the go.

                                                      Karissa's tip
                                                      For a sheer finish, dampen fingertips and lightly tap onto
                                                      cheeks or lips.




  Brick Red     Coral      Rose       Rose Gold
  Shimmer      Shimmer    Shimmer     Shimmer



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                                                   #:8095

                                                  Focus Eyeshadow Palette
                                                  $36;TWO PALETTES


                                                  What it is
                                                  A richly-pigmented vegan eyeshadow palette to take you
                                                  from coffee to cocktails and everywhere in between.

                                                  What it does
                                                  Our long-wearing, crease-resistant formula primes, blends +
                                                  builds seamlessly.
               Palette No. 1
                                                  Why it's formulated WITHOUT
                  Bronze
                                                  Parabens, sulfates, latex + animal ingredients

                                                  Why it's different
                                                  Infused with sodium hyaluronate and vitamin BS to plump
                                                  and smooth the eyelid. Color payoff is completely true to
                                                  pan.

                                                  Karissa's tip
                                                  Apply wet for an intensified look or to use as a liner.




               Palette No. 2
               Smoky Plum


                                                  thrive·
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                                                      #:8097

                                                     Infinity Waterproof Eyeliner
                                                     $22; SIX SHADES



                                                     What it is
                                                     A highly-pigmented, waterproof, smudge-proof+ sweat-
                                                     proof eyeliner that glides on smooth and stays put for up to
                                                     24 hours.

                                                     What it does
                                                     Packed with shea butter, sodium hyaluronate + ceramides
                                                     for younger-looking lids and conditioned lashes.

                                                     Why it's formulated WITHOUT
                                                     Parabens, sulfates, latex + animal ingredients

                                                     Why it's different
                                                     This retractable pencil comes equipped with a built-in
                                                     sharpener for creating ultra-fine lines and an ergonomically
                                                     angled smudge tip for smooth, effortless blending.

     Lauren           Ella           Hoda
                                                     Karissa's tip
   Matte Black    Matte Brown   Slate Grey Matte
                                                     Line the waterline (tightline) with Talia (Navy Matte) to
                                                     counteract redness + instantly brighten the eyes.

      Na lie         Talia          Giuliana
 Bronze Shimmer   Navy Matte     Plum Shimmer


                                                     thrive·
                                                     causemetics

CONFIDENTIAL                                                                                                     TCI_00019145
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                                                 #:8098




CONFIDENTIAL                                                                                  TCI_00019146
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                                                  #:8099




 WITHOUT Infinity Waterproof Brow Liner                          WITH Infinity Waterproof Brow Liner




                                                 thrive·
                                                 causemetics

CONFIDENTIAL                                                                                   TCI_0001914 7
                         Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 106 of 175 Page ID
                                                           #:8100

                                                          Infinity Waterproof Brow Liner
                                                          $23; TWO SHADES


                                                          What it is
                                                          A vegan, waterproof eyebrow pencil that holds like a wax,
                                                          blends like a powder and intuitively adjusts to match your
                                                          brow color with Smart Pigment™ technology.

                                                          What it does
                                                          The ultra-fine retractable pencil creates tailor-made strokes
                                                          that mimic the look of brow hair.

                                                          Why it's formulated WITHOUT
                                                          Parabens, sulfates, latex + animal ingredients

                                                          Why it's different
                                                          Our proprietary formula contains shea butter, sodium
                                                          hyaluronate and ceramides to encourage the growth of
                                                          healthier, fuller-looking eyebrows.

                                                          Karissa's tip
                                                          Give yourself an instant eye lift by drawing a clean line along
                                                          the base of your brow, define with hair-like strokes and
                                                          blend with spoolie to distribute color throughout brows.
           Audrey                 Christina
        Universal Dark          Universal Light


                                                          thrive·
                                                          causemetics

CONFIDENTIAL                                                                                                         TCI_00019148
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                                                     #:8101

                                                     Brilliant Eye Brightener
                                                    $24; ONE SHADE


                                                    What it is
                                                    A retractable, cream-to-powder, vegan brightening eye
                                                     highlighter in a silky champagne shimmer that compliments
                                                     any skin tone. Equipped with a built-in sharpener.

                                                    What it does
                                                     Highlights, brightens and opens the eyes.

                                                    Why it's formulated WITHOUT
                                                     Parabens, sulfates, latex + animal ingredients

                                                    Why it's different
                                                     Ultra-moisturizing mango seed, macadamia + meadowfoam
                                                     seed oil provide nourishing hydration to the delicate skin
                                                     around the eyes.

                                                     Karissa's tip
                                                    Apply to the inner corner of the eye and/or above + below
                                                     brow bone for an instant eye lift.



                     Stella
               Champagne Shimmer


                                                    thrive·
                                                    causemetics

CONFIDENTIAL                                                                                                TCI_00019149
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                                                 #:8102




CONFIDENTIAL                                                                                  TCI_00019150
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                                                       #:8103


                   "They're your lashes, but better." -Allure

                           FAUX LASH APPLICATION 101
                                   Vegan •Waterproof• Reusable• Latex-Free




    Measure against             Apply Infinity                  Place faux lashes           Gently tap down
    your natural lash           Waterproof Lash                 at the base of your         faux lashes for 30
    line to ensure faux         Adhesive™ to band               lash line beginning         seconds to set (we
    lashes are the              + wait 30 seconds               at the inner corner         recommend using
    correct length. Trim        until tacky.                    working outwards.           the smudge tip on
    accordingly with                                                                        our eyeliner).
    scissors.


                                                      thrive·
                                                      causemetics

CONFIDENTIAL                                                                                              TCI_00019151
                              Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 110 of 175 Page ID
                                                                #:8104

                                                                   Faux Lashes
                                                                   $26; THREE STYLES
                              Beauty with a purpose
                           For tNf1fY product purchased,
                         one is donated to a woman going
                            through cancer treatment.              What it is
                                                                   Lightweight, natural-looking faux lashes made with Vegan
                                                                   Silk™.
               Our lashes are named after women who inspire us.
                They do more than fight to survive, they thrive.
                                                                   What it does
                                                                   Faux lashes give you instant eyelash extensions without the
                                                                   time or financial commitment.

                                                                   Why it's formulated WITHOUT
                                                                   Parabens, sulfates, latex + animal ingredients

                                                                   Why it's different
                                                                   Our faux lashes were specially-engineered to work whether

                                  Jackie                           you have natural lashes or not, and can be worn up to 30
                                                                   times with proper care.

                                                                   Karissa's tip
                                   Robin                           To ease application, wrap lash strip around a makeup brush
                                                                   (our eyeliner or brow liner work great too) before applying
                                                                   adhesive to help create a natural curve in the lash band.


                                   Kristy




                                                                   thrive·
                                                                   causemetics

CONFIDENTIAL                                                                                                              TCI_00019152
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                                                 #:8105




CONFIDENTIAL                                                                                  TCI_00019153
               Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 112 of 175 Page ID
                                                 #:8106

                                                 Infinity Waterproof Lash Adhesive
                                                 $16


                                                What it is
                                                A latex-free, waterproof eyelash glue that provides 24-hour
                                                 hold without chemicals.

                                                What it does
                                                 Keeps faux lashes in place for at least 24 hours.

                                                Why it's formulated WITHOUT
                                                 Parabens, sulfates, latex + animal ingredients

                                                Why it's different
                                                 Paired with an ultra-thin brush to simplify application, our
                                                 proprietary formula was designed with sensitive skin in
                                                 mind-containing just two ingredients, it's completely free
                                                 of irritating chemicals.

                                                 Karissa's tip
                                                Apply to faux lash band and wait 30 seconds for adhesive
                                                to become tacky before applying. For maximum waterproof
                                                 hold, apply a thin coat of glue on top of lash band after
                                                 lashes have been applied.




                                                thrive·
                                                causemetics

CONFIDENTIAL                                                                                              TCI_00019154
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                                                 #:8107


                                     Product Launches: 2017

                 01                                               03

                 •    Mascara 1                                   •      Hero Skincare SKU

                 •    Liquid Matte Lipstick (4-5 shades)          •      Mascara 2

                 •    High Shine Lipstick (4-5 shades)            04

                 •    Blush (3 shades)                            •      Skincare Roll out (5 SKUs)

                 •    Bronzer (2-3 shades)                        •      Limited-Edition Holiday Collection

                 02

                 •    8-12 Pan Eyeshadow Palette

                 •    Highlighter (2 shades)

                 •    Liquid Eyeliner (2 shades)

                 •    SPF 50 Foundation (5 shades)

                 •    Contour Duo (2-3 shades)

                 •    Contour Makeup Brush




                                                           thrive·
                                                           causemetics

CONFIDENTIAL                                                                                                  TCI_00019155
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                                                           #:8108


                                               Thrive at Sephora


      "As a cast member, I'm so inspired to see a former Sephora employee

      making a difference in the world. Karissa shows me that anything is

      possible and if she can start a brand, I can too!"

      -Marysol Ramirez




      "I was just at Sephora and the sales girl recommended that I buy your

      lash glue because it's the best she's ever used. Can't wait til you are sold

      at Sephora!"

      -Denise Ozeri




      I went into Sephora asking for the best brow liner and one of the

      salespeople referred me to your website saying she was obsessed with

      your pencil. I'm hooked for life! Excited to try more from Thrive."

      -Kathy Lund




                                                           thrive·
                                                           causemetics

CONFIDENTIAL                                                                                            TCI_00019156
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                                                                   #:8109


                                                                            Product Info
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                                                       ....        "          -
                                                       , ,. . . . 1 ■ r-. 1• ■ 11:
                                                                                                   ~        ~               ~
               Infinity Waterproof Lash Adhesive        N/A                                        TAD001   0643989464656   $16
               Faux Lashes                             Jackie                                      TLA001   0643989464625   $26
               Faux Lashes                              Robin                                      TLA002   0643989464632   $26
               Faux Lashes                              Kristy                                     TLA003   0643989464649   $26
               Infinity Waterproof Brow Liner          Christina (Universal Light)                 TBL001   0643989464755   $23
               Infinity Waterproof Brow Liner          Audrey (Universal Dark)                     TBL002   0643989464762   $23
               Infinity Waterproof Eyeliner            Talia (Navy Matte)                          TEL001   0643989464694   $22
               Infinity Waterproof Eyeliner            Giuliana (Plum Shimmer)                     TEL002   0643989464700   $22
               Infinity Waterproof Eyeliner             Hoda (Slate Grey Matte)                    TEL003   0643989464717   $22
               Infinity Waterproof Eyeliner             Ella (Brown Matte)                         TEL004   0643989464724   $22
               Infinity Waterproof Eyeliner             Lauren (Black Matte)                       TEL005   0643989464731   $22
               Infinity Waterproof Eyeliner             Nalie (Bronze Shimmer)                     TEL006   644042789303    $22
               Triple Threat Color Stick               Dionne (Brick Red Shimmer)                  TTT01    0644042788870   $36
               Triple Threat Color Stick               Olivia (Coral Shimmer)                      TTT02    0644042788887   $36
               Triple Threat Color Stick               Joy (Rose Gold Shimmer)                     TTT03    0644042788894   $36
               Triple Threat Color Stick                Maggie (Rose Shimmer)                      TTT04    0644042788900   $36
               Focus Eyeshadow Palette                  No. 1 (Bronze)                             TFE001   0644042788696   $36
               Focus Eyeshadow Palette                  No. 2 (Smoky Plum)                         TFE002   0644042788702   $36
               Brilliant Eye Brightener                Stella (Champagne Shimmer)                  TBEB01   0644042788719   $24




                                                                                     thrive·
                                                                                     causemetics

CONFIDENTIAL                                                                                                                      TCI_00019157
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                                                                   #:8110


                                                      Product Info (Cont.)
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               ln.••1••- ■ -1[
                                                       .....       "          -
                                                       , ,. . . . 1 ■ r-. 1• ■ 11:
                                                                                                   ~        ~               ~
               Glossy Lip Mark                          Narima (Dark Berry)                        TGLM01   0644042788726   $26
               Glossy Lip Mark                          Ruth (Taupe Shimmer)                       TGLM02   0644042788733   $26
               Glossy Lip Mark                         Jean (Baby Pink)                            TGLM03   0644042788757   $26
               Glossy Lip Mark                          Misty (Coral)                              TGLM04   0644042788764   $26
               Glossy Lip Mark                          Maya (Deep Blue Red)                       TGLM05   0644042788771   $23
               Glossy Lip Mark                          Karlie (Bright Raspberry)                  TGLM06   0644042788788   $23
               Glossy Lip Mark                         JoAnn (Plum Mauve)                          TGLM07   0644042788795   $22
               Glossy Lip Mark                         Taylor (Bright Red)                         TGLM08   0644042788740   $22
               Glossy Lip Mark                          Pamela (Brown Mauve)                       TGLM09   0644042788801   $22




                                                                                     thrive·
                                                                                     causemetics

CONFIDENTIAL                                                                                                                      TCI_00019158
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                                                 #:8111




CONFIDENTIAL                                                                                  TCI_00019159
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                                  #:8112




      TRIAL EXHIBIT NO. 18
             Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 119 of 175 Page ID
                                               #:8113
  Message


  From:           Karissa Bodnar [kbodnar@thrivecausemetics.com]
  on behalf of    Karissa Bodnar <kbodnar@thrivecausemetics.com> [kbodnar@thrivecausemetics.com]
  Sent:           1/8/2016 3:18:23 AM
  To:             Jenni Bodnar [jennbod@gmail.com]
  Subject:        deck




  Karissa Bodnar
  Founder & CEO I Thrive Causemetics
  thrivecausemetics.com




CONFIDENTIAL                                                                                       TCI_00019096
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                                                 #:8114




CONFIDENTIAL                                                                                  TCI 00019097
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                                                 #:8115


                      Meet Thrive Causemetics
    Cause-based beauty company
    • Beauty with a Purpose: For every
      product purchased, one is donated to a
      woman going through cancer treatment
    • Soft launch: February 2015
    •    Full launch: June 2015

    Full-line beauty company
    • Products formulated for all women
    • Gaining traction and advocacy with
       celebrities, makeup artists + online
       influencers

    Management team with extensive
    experience in beauty and startups



                                                                                   Beauty with a Purpose™

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                                                   #:8116

               Problem: The Beauty Industry Lacks
                    Meaningful Differentiation
    Thrive is different in two ways:
    •    Thrive is the only cause-based beauty company
    •    Thrive has proprietary product development


    Results:
    •    Earned media from outlets including Good Morning America, The
         Today Show, Real Simple, VOGUE, Yahoo! Beauty+ more
    •    Viral social media growth -16k+ followers on lnstagram
    •    Endorsements from makeup artists and celebrities
    •    Over 30 social influencers with followers ranging from 1OOK-2M


                                                                                     Beauty with a Purpose™

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                                                   #:8117


                Solution: Beauty with a Purpose

    • Products free of parabens, sulfates or petrochemicals
      while high-performing
    • Donation model creates brand loyalty with customers
    • Product quality coupled with business model generates
      repurchase


               Beauty with a Purpose"·




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                                                      #:8118


                                            Product Roadmap 2017

  • Lashes + Adhesive - 4 SKUs
  • Makeup - 30 + SKUs
  • Skincare - 3 SKUs



                                  ---·-
                               For.,..,., product purchased,

                                 ttwougt,---
                             one ls donat8d toa woman going




               1
                   Our lashes are named after women who inspire us.
                    They do more than fight to survive, they thrive.




                                                                                        Beauty with a Purpose™

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                                                    #:8119


                Purchases with a Purpose Matter

    •    89% of U.S. consumers are likely
         to switch brands to one
         associated with a cause given
         comparable price and quality*

    •    80% of women over 13 years old
         purchase makeup

    •    Average annual spend on
         makeup is $144/year

    •    U.S. TAM for makeup is $15B

    *Cone Communications, 10/13




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                                                 #:8120


                         Go To Market Strategy
    Leverage multiple sales channels
    • Launched with lashes + adhesive in the e-commerce channel
       - February 2015
          - 3 product families today
          - Projected 2015 sales of $350K


    Rapidly building out product families to obtain full benefit from
    each channel
    • Second product family: eyeliners launched June 1, 2015
    • Third product family: eyebrow liners launched July 28, 2015
    • 12 product families by mid-2017



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                                                   #:8121


                          Business Model Analysis

                                                            2018
                                           Lashes                       Eyeliner
                                  ECOM          Retail             ECOM        Retail
          MSRP                    $ 26.00       $ 26.00            $ 22.00    $ 22.00
          Wholesale price          26.00            13.00          22.00       11.00



          Net to Thrive           $ 17.00       $ 6.15             $ 14.50     $5.20
          Wholesale Margin        65.4%         47.3%              65.9%       51.8%




                                                                                        Beauty with a Purpose™

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                                                 #:8122
                              Thrive in the News



                                                                  VOGUE


                                                                                       i:t•1~it•J
       GOOD
    HOUSEKEEPING       NYLON                Womensllealtb                                      ~ ■

                J                          L




                                                                                   Beauty with a Purpose™

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                                                    #:8123
                                           Celeb Buzz
                                   "Bless you for what you're doing. You've no doubt brought comfort
                                   to countless women."
                                   --Robin Roberts, Good Morning America



               "The best products I've ever used! I stand behind the cause 100%."
                                                                  --Kelly Clarkson




                                   "Thrive's products are unprecedented because of Karissa's tenacious
                                   drive to develop the best products out there."
                                   --Michelle Phan



          Thrive has changed the game and I am grateful to be a part of the team.
             I use their products on Robin Roberts, Michelle Williams, Gayle King,
           Vivica A. Fox, & more. Every one at ABC uses Thrive, it's the unofficial
                                                             beauty brand of ABC.
                                         --Elena George, Celebrity Makeup Artist



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                                                    #:8124


                    Experienced Team + Advisors
    Name                     Position              Experience
    TEAM
    Karissa Bodnar           CEO & Founder         Nordstrom, Sephora, Clarisonic and L'Oreal
    Annie Schultz            Brand Director       Sephora, Nordstrom and Julep
    Mary Baker               CFO                  35 years helping companies grow, 35+ startups,
    Anderson*                                     raised $0.5Bn+
    ADVISORS
    Colleen Pierce*          Sales Advisor        35+ years building luxury beauty brands at
                                                  Nordstrom, Sephora, Neiman Marcus, Saks ...
    Katie Parfet*            Influencer            Built TOMS Shoes influencer relationships
                             Strategy
    Bill McClain*            Marketing            30 years building companies and marketing
                             Advisor              strategy at companies including L'Oreal,
                                                  Claisonic and Sonicare

    * Part Time


                                                                                      Beauty with a Purpose™

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                                                  #:8125


                                  Financial Projections
 $ millions

       80                                                                        Key Results:
                                                                $70.3M
       70                  ■   Revenue                                           Cash Flow Break
        60                 ■   Profit                                            Even:
                                                                                 2Q16
       50
                                                 $40.0M
                                                                                 2018 Revenue:
       40
                                                                                 18% E-commerce
       30                                                                        63% Retail
       20                                                                        18% Other
                                    $7.7M
        10                                                                       2018 Gross Margin
               SO.3M
                                                                                 46%;
          0
                2015                    2016       2017            2018          Net Margin 37%
      -10
   Products            3                    9        12              12
   Channels            2                    9         8               8
   FTE                 9                    27       39              41


                                                                                    Beauty with a Purpose™

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                                                 #:8126
                         Investment Opportunity
Prior Funding
•    Launch funding from founder -- $50K                                    11
                                                                                 81 s you for whet you're
•    $170K Convertible Debt                                                       doing, you"ve no doubt
                                                                                    brou ht comfort to
                                                                                   oounU      women."
Seeking $750K Series Seed Preferred -- $3M pre-money
•    $450K received, includes conversion of $170K
     Convertible Debt
•    Burn increases from <$5K to $120K/month in next year                         Robin Roberts, Good Morning America

•    Use of funds: $200K to obtain new customers and
     establish the brand, $50,000 to develop new product
     families, $500K to purchase inventory based on forecasts
     from retail partners
Future Rounds
•   Cash flow break even projected 20 2016, no future funding required
Exit by Acquisition
•   Likely sale to a beauty company
•   TOMS Shoes 50% sale to PE firm for 2.6x trailing rev


                                                                                         Beauty with a Purpose™

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                                                 #:8127




                                                               Our Thrivers
                                                                Thank You

                                                                 Thrive Causemetics
                                                            Karissa Bodnar, Founder/CEO
                                                           kbodnar@thrivecausemetics.com
                                                                    360.388.1422




                                                                                   Beauty with a Purpose™

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                                                                            Appendices




                                                                                        Beauty with a Purpose™

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                                                     #:8129


                 Karissa Bodnar, Founder + CEO




      Karissa Bodnar, 26, began her career as a makeup artist at 18, traveling the world working backstage at events like
       New York Fashion Week. She pursued her passion for product development; creating and launching products for
                                     companies like Nordstrom, Clarisonic, and L'Oreal.


       After losing her close friend Kristy to cancer at only 23, she started Thrive Causemetics as a mission to positively
        impact the lives of women with cancer through the gift of beauty products. Thrive Causemetics is Beauty with a
               Purpose: for every product purchased, one is donated to a woman going through cancer treatment.




                                                                                                     Beauty with a Purpose™

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                                                        #:8130
                                                                                                  ishieepoo mentioned you in a
                                                                                                  comment: Yall know ... l mean

                                                  Social Proof                                    KNOW, I got mine preordered.
                                                                                                  Yes, I sure do.
                                                                                                  Check out @thrivecausemetics
cakefaceconfessionofficial ~ I am                lisahayesmakeup                        5h        guys. Their lash glue is all that I
OBSESSED with @thrivecausemetics                                                                  use. There are no other lash
                                                 My FAVORITE lashes and an AMAZING                glues on the market as far as I
@thrivecausemetics @thrivecausemetics
                                                 cause. These are usually what I put on           am concerned. Me being the
Infinity Waterproof Eyeliner!!! One side is
                                                 @ginger_zee :) A pair (which you can             coffee addict I am, you know
eyeliner, the other is a sharpener and a
                                                 re-use up to 20x depending how well              this was right up my alley.
smudger/eraser. These eyeliners are
parabens and sulfate free - also cruelty free.   you keep care of them)                           The most important thing I love
                                                 @thrivecausemetics donates a pair to a           about @thrivecausemetics is
THE BEST PART... For every eyeliner you                              II    II
                                                 cancer patient. The Robin ones are               their purpose and mission. To
buy @thrivecausemetics donates one to a
                                                 my FAV. They are full and stayed curled          help ladies with cancer. I love
woman going through Cancer Treatment. I
                                                 all day. The glue is very fast drying,           causes and as long as they are
LOVE THIS COMPANY!!!!                                                                             in business, with this mission,
                                                 light weight and glides off when you
                                                 get ready for bed. I always use this             they shall always have my
                                                 glue! #lashesfordays                             support.
tfortamikos mentioned you in a
                                                 #thrivecausemetics #lashes                       Go check them out! Order you
comment: It was Christmas
                                                 #makeuptip                                       a cup, eyeliner, lash glue or
again for me ;.,; i picked up                                                                     donate. #beautywithacause
another @thrivecausemetics                                                                        #cantbeatthat
#infinitylashadhesive and also       beauty_withjasmin I have tried a lot of                      #thrivecausemetics 1Om
wanted to try the new Infinity       eyelash glues and i do mean ALOT!!! but this
Waterproof Eyeliner as well! I
am sure I won't be
                                     by far is the best i have ever tried i love it i   faceby.babyj @thrivecausemetics lash glue
disappointed! Thanks Karissa         usually have to carry eyelash glue with me         is magic · it's latex, paraben, and sulfate
and the gang                         but with this one i dont it stays on until i       free and it works so good, no more ends
@thrivecausemetics !                 take them off!! Also for every eyelash glue        popping off, no more accidental globs of
Remember: for every product                                                             glue on my lashes because it has an
                                     purchased one gets donated to a woman
purchased, one is donated to a                                                          awesome brush applicator and the best part
                                     fighting cancer! Tell me that isnt amazing! !!     of it is that for every product purchased, one
woman going through cancer
treatment. .. #thrivecausemetics            @th rivecausemetics                         is donated to a woman going through
#beautywithapurpose 1Oh                                                                 cancer treatment so she can have beautiful
                                                                                        lashes again



                                                                                                        Beauty with a Purpose™

 CONFIDENTIAL                                                                                                               TCI_00019113
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                                 Business Model

                                                                                Wholesale
                                                           Channel
                                                                                Margin Cost
                                                        E-commerce                     0%
                                                        Luxury Retail                 50%
                                                              QVC                     53%
                                                           Sephora                    60%
                                                           Med Pro                    30%
                                                              E-tail                  50%
                                                              B2B                     30%




                                                                                   Beauty with a Purpose™

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                     Product Profitability: Retail
                                                                2017

                           Wholesale MSRP                      $13.00

                           Material cost                        $1.75

                           Freight & Duty                       $1.50

                           Fulfillment                          $0.10

                           Shipment                             $0.15

                           Cost of Donation                     $3.35

                           Net Profit                           $6.15




                                                                                   Beauty with a Purpose™

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                              Channel Mix: 2018
                                                      2018              Key Driver

                 Ecommerce                             18%              400K units

                 Luxury Retail                         49%             2.8MM units

                 ave                                    9%              300K units

                 Sephora                               14%              1MM units

                 Med Professional                      2%               100K units

                 Etail                                  6%              100K units

                 828                                    1%               25K units




                                                                                   Beauty with a Purpose™

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      TRIAL EXHIBIT NO. 26
                                                Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 141 of 175 Page ID
                                                                                  #:8135
                                                                               Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword             Search             Campaign                   Ad group       Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                           keyword                                                      max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                           match                                                                                                                                          %                                conv.
                            type
shop thrive causemetics     Exact    S - Branded - Mobile_Exact   Thrive Causemetics          1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyeshadow review                                                  Eyeshadow Review



thrive casmetics            Exact    S - Branded - Mobile_Exact   Thrive Casmetics            1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie on line                                          Eyelashes Jackie


thrive casmetics            Exact    S - Branded - Mobile_Exact   Thrive Casmetics            1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyelashes coupon store                                            Eyelashes Coupon


order thrive                Exact    S - Branded - Mobile_Exact   Thrive Causemetics          1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
causemetics                                                       Eyeshadow
eyeshadow online
order thrive causmetics     Exact    S - Branded - Mobile_Exact   Thrive Causmetics           1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
makeup online                                                     Makeup


thrive adhesive             Exact    S - Branded - Mobile_Exact   Thrive Adhesive             1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
discount                                                          Discount
shop thrive adhesive        Exact    S - Branded - Mobile_Exact   Thrive Adhesive             1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
coupon website                                                    Coupon
shop thrive beauty          Exact    S - Branded - Mobile_Exact   Thrive Beauty               1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
products sale                                                     Products Sale
thrive cosmetics            Broad    S - Remarketing_ Visitors    Th rive Cosmetics               1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyebrow pencil                       Converted All Time NB        Eyebrow Pencil
thrive cosmetics lip        Broad    S - Remarketing_ Visitors    Th rive Cosmetics           2.31      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
gloss                                Converted All Time NB        Lip Gloss
thrive causernetics         Exact    S - Branded                  Thrive Causemetics          0.24      USD        7          46        15.22%    0.41     2.85           0.00%     0.00%        2           0      1.42      28.57% 61.96
infinity eyeliner                    Reboot_Desktop_Exact_FE Infinity Eyeliner
                                     MALE
+thrive cosmetics +lip      Broad    S - Branded                  Thrive Lip Gloss                0     USD       16         107        14.95%    1.19     19.08      59.81%       70.09%      0.33          0      57.24      2.08% 178.3
gloss                                Reboot_Desktop_Exact_FE
                                     MALE
+th rive +cosmetics         Broad    S - [Brand] Skincare_Eye     Eye Cream: thrive           1.36      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
+eye +lotion                         Cream                        cosmetics eye
                                                                  lotion
thrive semi permanent       Exact    S - Branded                  Thrive Semi                 0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brow liner review                    Reboot_Desktop_Exact_FE Permanent
                                     MALE                         Browliner Reviews


thrive cosmetics semi       Exact    S - Branded                  Th rive Cosmetics           0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
permanent browliner                  Reboot_Desktop_Exact_FE Semi Permanent
                                     MALE                    Browliner
thrive matte lip stick      Exact    S - Branded                  Thrive Matte                0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                     Reboot_Desktop_Exact_FE Lipstick
                                     MALE
+thrive +lip +balm          Broad    S - [Brand] Lip Oil PP       Lip Oil: thrive lip          0.7      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                                                  balm


                                                                                                                            10




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                                                                                                                           TCI_00024093
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                                                                                 #:8136
                                                                                 Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword             Search             Campaign                  Ad group          Keyword      Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                           keyword                                                        max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                           match                                                                                                                                            %                                conv.
                            type
thrive eyelashes kristy     Exact    S - Branded - Mobile_Exact    Thrive Eyelashes             1.21     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
discount store                                                     Kristy Discount
thrive causemetics          Exact    S - Branded - Mobile_Exact    Thrive Causemetics           1.21     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
eyeliner infinity review                                           Eyeliner Infinity
                                                                   Review


+thrive +makup              Broad    S - Branded                   Mascara Thrive               0.51     USD        7          16        43.75%    0.23      1.63      100.00%      100.00%        1           0      1.63      14.29% 101.9
                                     Reboot_Desktop_Exact_FE
                                     MALE
thrive causemetics          Exact    S - Branded                   Thrive Causemetics           0.17     USD        0             2       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
infinity brow liner                  Reboot_Desktop_Exact_FE Infinity Browliner
                                     MALE
thrive causemetics          Broad    S - Remarketing_ Visitors     Thrive Causemetics            1.3     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
focus eyeshadow                      Converted All Time NB         Focus Eyeshadow


thrive cosmetics            Broad    S - Remarketing_ Visitors     Th rive Cosmetics            0.71     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
highlighter                          Converted All Time_Tablet     Highlighter


+thrive +causematics        Broad    S - Branded COMs_Desktop Corns                             1.01     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+com
thrive cosmetics            Exact    MKT_US_S - [Brand]            Th rive Cosmetics            0.39     USD       373        536        69.59%    0.26     98.36       99.25%       99.63%     134.91         0      0.73      36.17% 183.5
                                     Re marketing_Visitors
                                     Converted All Time - Mobile


thrive causernetics         Broad    MKT_US_S - [Brand]            Thrive Causemetics           0.91     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
eyeshadow                            Re marketing_Visitors         Eyeshadow
                                     Converted All Time - Mobile


thrive causmetics           Broad    MKT_US_S- [Brand]             Thrive Causmetics            2.37     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
makeup brushes                       Remarketing_Visitors          Makeup Brushes
                                     Converted All Time - Mobile


thrive cosmetics            Broad    MKT_US_S- [Brand]             Th rive Cosmetics             1.7     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
lipgloss                             Remarketing_Visitors          Lip Gloss
                                     Converted All Time - Mobile


thrive cleanser             Exact    S - [Brand]                   Cleanser: thrive             1.81     USD       107        516        20.74%    0.91     96.97       93.65%       96.70%      17.68         0      5.48      16.52% 187.9
                                     Skincare Cleanser             cleanser
thrive cosmetics blush      Broad    newengen - Branded            Th rive Cosmetics            2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+review                              Remarketing I MMl ac26        Blush Reviews
thrive lash glue            Broad    newengen - Branded            Thrive Eyelash Glue          2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+reviews                             Remarketing I MMl ac26        Reviews
thrive causemetics          Broad    newengen - Branded            Thrive Causemetics           2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+semipermanent eye                   Remarketing I_MMl ac26        Semi Permanent
liner                                                              Eyeliner




                                                                                                                             27




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                                                                                 #:8137
                                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword            Search              Campaign             Ad group        Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC     Cost        lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                          keyword                                                  max CPC                                                                        (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                          match                                                                                                                                       %                                 conv.
                           type
thrive matte lipstick      Exact    MKT_US_S - [Brand] Lips   Lipstick: thrive           0.26      USD       20          87        22.99%    0.28       5.62        69.86%      94.52%      1.99          0      2.82       9.95%   64.6
                                                              matte lipstick
thrive causemetics        Phrase    S - In Market_Dating      Thrive Causemetics         1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
makeup brushes review                                         Makeup Brushes
                                                              Reviews


thrive cosmetics review   Phrase    S - In Market_Dating      Th rive Cosmetics          6.25      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                                              Reviews
thrive eyeshadow          Phrase    S - In Market_Dating      Thrive Eyeshadow           2.73      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
review                                                        Reviews
thrive causemetics        Phrase    S - In Market_Dating      Thrive Causemetics         1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyelashes review                                              Eyelashes Reviews



thrive causmetics blush   Phrase    S - In Market_Dating      Thrive Causmetics          1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
reviews                                                       Blush Reviews
thrive cosmeticd          Phrase    S - Branded               Th rive Cosmetics              1     USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                    Reboot_Mobile- Exact #4
thrive casmetics           Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon                              I_MBl 0a31                Coupon
order thrive casmetics     Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon online                       I_MBl 0a31                Coupon
order thrive beauty        Broad    S - newengen - Branded    Thrive Beauty              2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
products discount                   I_MBl 0a31                Products Discount
thrive casmetics lip       Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
gloss sale                          I_MBl 0a31                Lip Gloss Sale
shop thrive causemetics    Broad    S - newengen - Branded    Thrive Causemetics         2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyeliner infinity                   I_MBl 0a31                Eyeliner Infinity


thrive causemetics         Broad    S - newengen - Branded    Thrive Causemetics         2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
brow liner review                   I_MBl 0a31                Brow Liner Review



thrive eyeshadow           Broad    S - newengen - Branded    Thrive Eyeshadow           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
review                              I- MBl 0a31               Review
order thrive casmetics     Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyeliner sale                       I_MBl 0a31                Eyeliner Sale
order thrive cosmetics     Broad    S - newengen - Branded    Th rive Cosmetics          2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon                              I_MBl 0a31                Coupon
thrive cosmetics           Broad    S - newengen - Branded    Th rive Cosmetics          1.05      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
mascara amazon                      I_MBl 0a31                Mascara Amazon
thrive casmetics           Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyelashes website                   I_MBl 0a31                Eyelashes
thrive makeup ulta        Phrase    MKT_US_S - [Brand]        thrive makeup ulta         1.12      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                    General
thrive                    Phrase    MKT_US_S - [Brand] Pure   thrive                      1.8      USD      17,265    252,561      6.84%     1.11     19,241.19     52.86%      82.60%    3,111.33        0      6.18      18.02% 76.18
                                    Broad Match


                                                                                                                       12




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                                                                                   #:8138
                                                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search              Campaign                   Ad group         Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                         max CPC                                                                     (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                           %                                 conv.
                             type
thrive cosmetics             Broad    S - newengen - Branded        Th rive Cosmetics           2.62        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
brightener sale store                 I DBl f2a6                    Brightener Sale
thrive causemetics           Exact    S - Branded                   Thrive Causemetics          0.36        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
water proof eyeliner                  Reboot_Desktop_BMM_FE Waterproof
                                      MALE                          Eyeliner


thrive lip mate reviews      Exact    S - Branded                   Thrive Lip Mate             0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
                                      Reboot_Desktop_BMM_FE Reviews
                                      MALE
thrive cosmetics lipstick    Exact    S - Branded                   Th rive Cosmetics           0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
review                                Reboot_Desktop_BMM_FE Lipstick Reviews
                                      MALE
thrive cosmetics             Exact    S - Branded                   Th rive Cosmetics           0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
semipermanent eye                     Reboot_Desktop_BMM_FE Semi Permanent
brow liner                            MALE                          Eyebrow Liner
thrive causemetics           Exact    S - Branded                   Thrive Causemetics          0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
focus eye shadow                      Reboot_Desktop_BMM_FE Focus Eyeshadow
reviews                               MALE                          Reviews


thrive liquid balm           Exact    S - [Brand] Skincare_Lip Oil Lip Oil: thrive liquid       1.32        USD       39         340        11.47%    0.96     37.33      93.67%      93.67%      10.04         0      3.72      25.75% 109.8
                                                                    balm
+thrive +beauty              Broad    S - Branded                   Thrive Beauty                0.1        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
+products                             Reboot Tablet Mod Brod        Products
thrive causmetics           Phrase    Branded                       Thrive Causmetics           2.37        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
coupon codes                          Remarketing_Desktop_Phr Coupon Codes
                                      ase
thrive infinity eyebrow     Phrase    Branded                       Thrive Infinity              2.2        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
liner review                          Remarketing_Desktop_Phr Eyebrow Liner
                                      ase                           Reviews
thrive causemetics          Phrase    Branded                       Thrive Causemetics           2.2        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
eyebrow liner reviews                 Remarketing_Desktop_Phr Eyebrow Liner
                                      ase                           Reviews


thrive causemetics           Broad    5-                            Thrive Causemetics                1     USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
eyebrow liner                         Retargeting_Desktop_Broa Eyebrow Liner
                                      d
thrive mascara               Broad    5-                            Thrive Mascara                    0     USD        0             6      0.00%       0        0        16.67%      16.67%        0           0        0        0.00%    0
                                      Retargeting_Desktop_Broa
                                      d
thrive causemetics           Broad    S-                            Thrive Causemetics          2.37        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
liquid lash                           Retargeting_Desktop_Broa Liquid Lash
                                      d
thrive promo code            Exact    S - [Brand] General PP        thrive promo code           4.55        USD       127        421        30.17%    1.71     216.97     99.52%     100.00%      65.94         0      3.29      51.92% 515.4


thrive causmetics lash       Exact    S - Branded_Mobile_Exact      Thrive Causmetics           1.21        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
glue review                                                         Lash Glue Review



                                                                                                                                15




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                                                                                   #:8139
                                                                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search              Campaign              Ad group        Keyword       Currency   Clicks   Impressions    CTR      Avg.CPC   Cost     lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                   max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                       %                                conv.
                             type
order thrive                 Broad    S - newengen - Branded     Thrive Causemetics         2.62      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
causernetics coupon                   I_DBl f2a6                 Coupon
store
shop thrive eyeshadow        Broad    S - newengen - Branded     Thrive Eyeshadow           2.62      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
discount store                        I_DBl f2a6                 Discount


thrive make up               Broad    S - Branded                Thrive Makeup               0.1      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot Tablet Mod Brod
thrive brush review         Phrase    Branded                    Th rive Brush              2.37      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
                                      Remarketing_Desktop_Phr Reviews
                                      ase
thrive eyebrow liner        Phrase    Branded                    Thrive Eyebrow                 1     USD        0             1       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
reviews                               Remarketing_Desktop_Phr Liner Reviews
                                      ase
thrive causemetics          Phrase    Branded                    Thrive Causemetics         2.37      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
semipermanent                         Remarketing_Desktop_Phr Semi Permanent
eyebrow liner                         ase                        Eyebrow Liner


+thrive +holiday +set        Broad    S - [Brand] Holiday Sets   thrive holiday set         0.34      USD        4          20         20.00%    0.24     0.96      47.06%       76.47%       0.2          0       4.8       5.00%   48
                                      2019
+thrive +makeup              Broad    S - [Brand] General PP     thrive makeup              1.04      USD        2             2      100.00%    0.83     1.66     100.00%      100.00%        0           0        0        0.00%   830
+reviews                                                         reviews
order thrive                 Exact    S - Branded_Mobile_Exact   Thrive Causemetics         1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
causemetics coupon                                               Coupon
online
order thrive causmetics      Exact    S - Branded_Mobile_Exact   Thrive Causmetics          1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
lash glue                                                        Lash Glue
shop thrive casmetics        Exact    S - Branded_Mobile_Exact   Thrive Casmetics           1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
brightener review                                                Brightener Review


order thrive casmetics       Exact    S - Branded_Mobile_Exact   Thrive Casmetics           1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeliner                                                         Eyeliner
thrive semipermanent         Broad    S - Branded_Mobile_Exact   Thrive Causemetics         1.45      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeliner                                                         Eyeliner
                                                                 Waterproof


shop thrive causemetics      Exact    S - Branded_Mobile_Exact   Thrive Causemetics         1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeshadow website                                                Eyeshadow


order thrive causmetics      Exact    S - Branded_Mobile_Exact   Thrive Causmetics          1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeshadow website                                                Eyeshadow


order thrive adhesive        Exact    S - Branded_Mobile_Exact   Thrive Adhesive            1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
coupon store                                                     Coupon
thrive casmetics lipstick    Exact    S - Branded_Mobile_Exact   Thrive Casmetics           2.34      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
review                                                           Lipstick Review



                                                                                                                          21



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                                                  Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 146 of 175 Page ID
                                                                                    #:8140
                                                                              Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search               Campaign               Ad group       Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                    max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                        %                                conv.
                             type
thrive causemetics           Broad    S - Branded                Thrive Causemetics              1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brushes                               Reboot_Mobile- Broad_w/ Brushes
                                      Search Partners
thrive cosmetics infinity   Phrase    S - In Market_Dating       Th rive Cosmetics           1.88      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
waterproof browliner                                             Infinity Waterproof
                                                                 Browliner


thrive beauty products       Broad    MKT_US_S - [Brand]         Thrive Beauty               1.49      USD        1          23        4.35%     0.27     0.27           0.00%     0.00%        0           0        0        0.00% 11.74
                                      Re marketing_Visitors      Products
                                      Converted All
                                      Time_Desktop
thrive causmetics eye        Broad    MKT_US_S - [Brand]         Thrive Causmetics            2.2      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
shadow                                Re marketing_Visitors      Eyeshadow
                                      Converted All
                                      Time_Desktop
thrive liquid lash           Broad    MKT_US_S - [Brand]         Thrive Liquid Lash              1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                      Re marketing_Visitors
                                      Converted All
                                      Time_Desktop
thrive eyelash glue          Exact    S - Branded                Thrive Eyelash Glue         9.84      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
reviews                               Reboot Mobile Exact #4     Reviews
thrive cosmetics toner       Exact    MKT_US_S - [Brand]         Toner: Thrive               1.16      USD        1          14         7.14%     0.2      0.2      100.00%      100.00%        0           0        0        0.00% 14.29
                                      Skincare                   Cosmetics Toner
thrive lip gloss             Broad    S - Remarketing_Checkout   Thrive Lip Gloss            2.59      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                      Visit NB


thrive causmetics            Broad    S - newengen - Branded     Thrive Causmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
adhesive store                        I_MBl 0a31                 Adhesive
thrive casmetics             Broad    S - newengen - Branded     Thrive Casmetics            2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brightener review                     I_MBl 0a31                 Brightener Review
website
thrive cosmetics brow        Broad    S - newengen - Branded     Th rive Cosmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
liner sale                            I MBl 0a31                 Brow Liner Sale
where to buy thrive          Broad    S - newengen - Branded     Thrive Brightener           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brightener                            I_MBl 0a31
shop thrive brow liner       Broad    S - newengen - Branded     Thrive Brow Liner           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
review                                I- MBl 0a31                Review
shop thrive adhesive         Broad    S - newengen - Branded     Thrive Adhesive             2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
sale website                          I_MBl 0a31                 Sale
order thrive causmetics      Broad    S - newengen - Branded     Thrive Causmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
sale store                            I_MBl 0a31                 Sale
thrive adhesive review       Broad    S - newengen - Branded     Thrive Adhesive             2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
website                               I_MBl 0a31                 Review
thrive cos                   Exact    MKT_US_S - [Brand]         thrive cos                  0.58      USD       985       2,322       42.42%    0.Q7     67.99      96.77%       99.04%     259.94         0      0.26      26.39% 29.28
                                      General
thrive causmetics matte      Broad    newengen - Branded         Thrive Causmetics           2.07      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
lip stick                             Remarketing I_MBl 0005     Matte Lipstick


                                                                                                                           23



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                                              Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 147 of 175 Page ID
                                                                                #:8141
                                                                                  Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword            Search             Campaign                   Ad group           Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC     Cost       lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                          keyword                                                          max CPC                                                                       (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                          match                                                                                                                                              %                                 conv.
                           type
+thrive +causemetics       Broad    S - [Brand] Sets PP           Eyeliner: Lip Liner:           0.58      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
+lip +liner +set                                                  thrive causemetics
                                                                  lip liner set


thrive causemetics         Broad    S - Remarketing_Checkout      Thrive Causemetics                 1     USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
color stick                         Visit Branded                 Color Stick


+thrive +eyebrow           Broad    S - Remarketing_ Visitors     Thrive Eyebrows                 0.4      USD        1             5      20.00%    3.71       3.71       60.00%      60.00%        0           0        0        0.00%   742
                                    Converted All Time_Tablet


thrive                     Broad    MKT_US_S - [Brand]            Thrive                         1.51      USD      12,363     23,305      53.05%    0.73     9,019.46     83.66%      95.86%    4,130.02        0      2.18      33.41%   387
                                    Re marketing_Visitors
                                    Converted All Time - Mobile


+thrive +makeup            Broad    MKT_US_S - [Brand]            Thrive                         0.41      USD       11         110        10.00%     0.7       7.66       93.88%      95.92%      4.03          0       1.9      36.64% 69.64
                                    Re marketing_Visitors
                                    Converted All Time - Mobile


thrive causernetics        Broad    newengen - Branded            Thrive Causemetics                 1     USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
eyebrows +reviews                   Remarketing I_MMl ac26        Eyebrows Reviews



thrive moisturizer         Exact    S - [Brand]                   Moisturizer: thrive             1.7      USD       161        791        20.35%    0.95     152.85       89.44%      95.71%      13.19         0      11.59      8.19% 193.2
                                    Skincare_Moisturizer          moisturizer
thrive causernetics       Phrase    5-                            Thrive Causemetics             2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
brow liner reviews                  Retargeting_Mobile_Phras Browliner Reviews
                                    e


thrive causmetics matte   Phrase    5-                            Thrive Causmetics              2.07      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
lipstick                            Retargeting_Mobile_Phras Matte Lipstick
                                    e
thrive infinity brow      Phrase    5-                            Thrive Infinity                2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
liner review                        Retargeting_Mobile_Phras Browliner Reviews
                                    e
thrive causemetics        Phrase    5-                            Thrive Causemetics             2.07      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
blush review                        Retargeting_Mobile_Phras Blush Reviews
                                    e
thrive cosmetics          Phrase    S-                            Th rive Cosmetics              2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
semipermanent                       Retargeting_Mobile_Phras Semi Permanent
eyeliner review                     e                             Eyeliner Reviews
thrive lip gloss           Exact    MKT_US_S - [Brand]            Thrive Lip Gloss               0.49      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
                                    Re marketing_Visitors
                                    Converted All
                                    Time_Desktop




                                                                                                                               56



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                                                  Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 148 of 175 Page ID
                                                                                    #:8142
                                                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search               Campaign                  Ad group      Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.       lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                      max CPC                                                                     (Abs. Top)    (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                          %                                conv.
                             type
thrive causemetics           Exact    5-                           Thrive Causemetics          3.14      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
semipermanent brow                    Retargeting_Mobile_Exact     Semi Permanent
liner reviews                                                       Browliner Reviews



thrive causemetics lip       Exact    MKT_US_S - [Brand] Lips       Lip Liner: thrive          2.79      USD       507       3,339       15.18%    1.15     581.31     90.18%       95.67%      51.86         0      11.21     10.23% 174.1
liner                                                              causemetics lip
                                                                   liner
thrive causemetics lash      Broad    MKT_US_S - [Brand]           Thrive Causemetics          2.37      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
adhesive                              Re marketing_Visitors        Eyelash Adhesive
                                      Converted All
                                      Time_Desktop
thrive eyelashes             Exact    S - Branded                  Thrive Eyelashes            9.84      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
reviews                               Reboot Mobile Exact #4        Reviews
thrive highlighter           Exact    S - Branded                  Thrive Highlighter           0.6      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot Mobile Exact #4
+thrive +cause               Broad    MKT_US_S - [Brand]           thrive cause                0.75      USD        7          22        31.82%    0.47      3.28     100.00%      100.00%        0           0        0        0.00% 149.1
+cosmetics                            General                      cosmetics
thrive causernatic           Broad    S - Remarketing_Checkout     Thrive Causematic               1     USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Visit NB


+thrive +causemetics         Broad    MKT_US_S - [Brand]           Cleanser: thrive            0.99      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
+facial +cleanser                     Skincare                     causemetics facial
                                                                   cleanser
thrive cosmetics infinity    Exact    S - Branded                  Th rive Cosmetics           0.17      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
waterproof eyeliner                   Reboot_Desktop_BMM_FE Infinity Waterproof
reviews                               MALE                         Eyeliner Reviews


thrive cosmetics             Exact    S - Branded                  Th rive Cosmetics           0.24      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
eyebrow pencil                        Reboot_Desktop_BMM_FE Eyebrow Pencil
                                      MALE
thrive lip treatment         Exact    S - [Brand] Skincare_Lip Oil thrive lip                  0.99      USD       26         119        21.85%     0.9     23.51      85.19%       95.06%        1           0      23.51      3.85% 197.6
                                                                   treatment
thrive lipgloss reviews      Exact    S - Branded                  Thrive Lip Gloss            0.05      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot_Mobile- Exact-         Reviews
                                      MALE
thrive eyelash adhesive      Exact    S - Branded                  Thrive Eyelash              12.3      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
review                                Reboot_Mobile- Exact-        Adhesive Reviews
                                      MALE
thrive lashes                Exact    S - Branded                  Thrive Eyelashes            0.13      USD        1          6         16.67%    0.65      0.65     100.00%      100.00%        0           0        0        0.00% 108.3
                                      Reboot_Mobile- Exact-
                                      MALE
thrive cosmetics water       Exact    S - Branded                  Th rive Cosmetics          10.82      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
proof browliner                       Reboot_Mobile- BMM-          Waterproof
                                      FEMALE                        Browliner




                                                                                                                            282




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                                               Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 149 of 175 Page ID
                                                                                 #:8143
                                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search            Campaign             Ad group         Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.       lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                 max CPC                                                                    (Abs. Top)    (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                    %                                conv.
                             type
thrive makeup coupon         Exact    S - Branded             Thrive Makeup                   0     USD       14          88        15.91%    0.81     11.37     69.05%       88.10%        8           0      1.42      57.14% 129.2
                                      Action Desktop          Coupon
thrive causmetics eye       Phrase    S - In Market_Home &    Thrive Causmetics          6.25       USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
brightener                            Garden/Home Decor       Eye Brightener
thrive causmetics            Exact    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie coupon               Action_Desktop          Eyelashes Jackie
                                                              Coupon
order thrive eyelashes       Exact    S - Branded             Thrive Eyelashes                1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
robin                                 Action_Desktop          Robin
shop thrive causemetics      Exact    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie                      Action_Desktop          Eyelashes Jackie


order thrive                 Broad    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
causemetics coupon                    Action_Desktop          Coupon
online
thrive causmetics focus     Phrase    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eye shadow review                     Reboot_Mobile- Phrase   Focus Eyeshadow
                                                              Reviews
thrive causmetics matte     Phrase    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
lip stick                             Reboot_Mobile- Phrase   Matte Lipstick
thrive makeup brush         Phrase    S - Branded             Thrive Makeup                   1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot_Mobile_Phrase    Brush
thrive cosmetics            Phrase    S - Branded             Th rive Cosmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
waterproof brow liner                 Reboot_Mobile_Phrase    Waterproof
reviews                                                       Browliner Reviews


thrive causernetics         Phrase    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyebrows reviews                      Reboot_Mobile- Phrase   Eyebrows Reviews



thrive                      Phrase    S - Branded             Thrive                      0.9       USD       220       11,723      1.88%     0.39     85.27         0.00%     0.00%       22           0      3.88      10.00%   7.27
                                      Reboot_Mobile- Phrase
thrive infinity water       Phrase    S - Branded             Thrive Infinity                 1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
proof browliner review                Reboot_Mobile_Phrase    Waterproof
                                                              Browliner Reviews


thrive causemetics          Phrase    S - Branded             Thrive Causemetics         0.27       USD        2          13        15.38%    0.26     0.53          0.00%     0.00%        0           0        0        0.00% 40.77
amazon                                Reboot_Mobile- Phrase   Amazon


thrive cosmetics water      Phrase    S - Branded             Th rive Cosmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
proof eyeliner                        Reboot_Mobile- Phrase   Waterproof
                                                              Eyeliner
thrive cosmetics infinity   Phrase    S - Branded Travel      Th rive Cosmetics           1.5       USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
water proof browliner                 / Accommodations        Infinity Waterproof
                                                              Browliner




                                                                                                                       325



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      TRIAL EXHIBIT NO. 27
           Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 151 of 175 Page ID
                                             #:8145



                                                                                 Date Generated : January 12, 2015
 Chart Of Tagged Records

 TM           Mark/Name       Status/Status Date     Brief                   Owner               Notes
 Record                                              Goods/Services
 us           THRIVE          United States          (lnt'I Class: 03)       THRIVE NATURAL
 Federal                      (Federal)              personal care           CARE , INC.
 Q3            THRIVE         Allowed                products for            (DELAWARE
 uf 1                         Last Status            cosmetic use,           CORP.) 42
                              Received : Allowed -   namely, hair            DARRELL PLACE
                              Intent to use 3rd      shampoos and            SAN FRANCISCO
                              Extension of Time      conditioners, hair
                              Granted                styling preparations;
                              September 18, 2014     body and hand
                                                     washes, soaps and
                                                     gels; non-medicated
                                                     skin care
                                                     preparations,
                                                     namely, body
                                                     lotions; cosmetic
                                                     sun care
                                                     preparations and
                                                     sunscreens; lip
                                                     creams and balms;
                                                     antiperspirants
                                                     and ...



 us           THRIVE          United States          (lnt'I Class: 03)       THRIVE NATURAL
 Federal                      (Federal)              non-medicated skin      CARE , INC.
 Q3                           Registered             care preparations,      (DELAWARE
 uf 2                         Last Status            namely, facial          CORP.) 42
                              Received :             lotions, cleansers      DARRELL PLACE
                              Registered             and creams, creams      SAN FRANCISCO
                              January 14, 20 14      and oils for cosmetic
                                                     use, skin
                                                     moisturizers; pre-
                                                     shaving
                                                     preparations; after
                                                     shave lotions and
                                                     creams


 us           THRIVE          United States          (lnt'I Class: 03)       MEDELA HOLDING
 Federal                      (Federal)              body care products,     AG (SWITZERLAND
 Q3            THRIVE         Allowed                namely, soaps;          CORP.)
 uf 3                         Last Status            perfumery,              LATTICHSTRASSE
                              Received : Allowed -   aromatherapy            48 BAAR,
                              Intent to Use          products, namely,       Switzerland
                              Suspension Letter      essential oils, hair

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                                                                                              [PAGE]/[NUMPAGES]




CONFIDENTIAL                                                                                          TCI_00027988
          Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 152 of 175 Page ID
                                            #:8146


 TM          Mark/Name       Status/Status Date   Brief                     Owner     Notes
 Record                                           Goods/Services
                             Mailed               lotions; dentifrices,
                             September 15, 2014   feminine hygiene
                                                  products, namely,
                                                  creams for ...
                                                  (lnt'I Class: 05)
                                                  plasters for wound
                                                  dressing, gauze for
                                                  dressings, breast-
                                                  nursing pads and
                                                  breast nursing pads,
                                                  namely, hydrogel
                                                  pads for protection
                                                  of sensitive ...
                                                  (lnt'I Class: 09)
                                                  computer hardware
                                                  and computer
                                                  software, namely,
                                                  educational software
                                                  for pregnant women
                                                  featuring instruction
                                                  in the field of
                                                  breastfeeding, blank
                                                  magnetic ...
                                                  (lnt'I Class: 10)
                                                  artificial limbs, eyes
                                                  and teeth; suture
                                                  materials;
                                                  phototherapeutic
                                                  apparatus for
                                                  medical purposes;
                                                  vacuum pumps for
                                                  medical purposes;
                                                  medical specimen
                                                  collecting ...
                                                  (lnt'I Class: 11)
                                                  electric heaters for
                                                  feeding bottles,
                                                  sterilizers, baby
                                                  bottle sterilizers,
                                                  milk and water
                                                  sterilizers;
                                                  pasteurizers for use
                                                  in food and
                                                  beverages
                                                  (lnt'I Class: 18)
                                                  leather and
                                                  imitations of leather,
                                                  trunks and travelling
                                                  bags; travelling
                                                  trunks, suitcases,
                                                  rucksacks and sling
                                                  straps, namely,
                                                  straps for carrying ...


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CONFIDENTIAL                                                                               TCI_00027989
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                                            #:8147


 TM          Mark/Name       Status/Status Date   Brief                    Owner     Notes
 Record                                           Goods/Services
                                                  (lnt'I Class: 21)
                                                  earthenware,
                                                  namely, mugs,
                                                  basins, plates and
                                                  bowls; bags and
                                                  containers for
                                                  household use,
                                                  namely, containers
                                                  for storing, freezing,
                                                  preserving,
                                                  transporting ...
                                                  (lnt'I Class: 25)
                                                  ladies underwear for
                                                  expectant and
                                                  nursing mothers,
                                                  namely, panty,
                                                  maternity supporting
                                                  brief and belt,
                                                  nursing bra,
                                                  camisole, undershirt,
                                                  tank top; ...
                                                  (lnt'I Class: 40)
                                                  treatment of
                                                  materials, namely,
                                                  beverage
                                                  processing in the
                                                  form of preservation,
                                                  analyzing,
                                                  separation, isolation
                                                  of components,
                                                  converting and
                                                  pasteurization of...
                                                  (lnt'I Class: 41)
                                                  education in the
                                                  form of classes,
                                                  workshops,
                                                  seminars in the field
                                                  of breastfeeding,
                                                  phototherapy and
                                                  healthcare;
                                                  information about
                                                  education in ...
                                                  (lnt'I Class: 44)
                                                  medical services in
                                                  the field of home
                                                  care services;
                                                  medical services in
                                                  the field of
                                                  breastfeeding,
                                                  phototherapy and
                                                  healthcare; rental ...




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CONFIDENTIAL                                                                              TCI_00027990
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                                                                                        Date Generated: January 12, 2015
 Full Record


        THRIVE
                                                                                                    US Federal
 THRIVE                                                                                             uf 1

 Status: Allowed

 Last Status Received: Allowed - Intent to Use 3rd Extension of Time Granted, September 18, 2014
 Most Recent Owner:
 THRIVE NATURAL CARE, INC. (DELAWARE CORP.)

 Goods/ Services:
 lnt'I Class(es): 3 (U.S. Class: 1, 4, 6, 50, 51, 52)
 Personal care products for cosmetic use, namely, hair shampoos and conditioners, hair styling preparations; body and hand
 washes, soaps and gels; non-medicated skin care preparations, namely, body lotions; cosmetic sun care preparations and
 sunscreens; lip creams and balms; antiperspirants and deodorants for personal use; shaving creams and gels; non-
 medicated baby care products, namely, baby lotions, creams, body cleansers, shampoos, gels and washes, diaper rash
 creams and ointments


 APPLICATION I REGISTRATION INFO.

 Serial No.:85-726058
 Filed: September 11 , 2012
 Published:February 12, 2013
 Allowed:April 9, 2013
 Trademark Type:Word
 Publications:
 2013-07
 Section:Publication Date of Application
 Published :February 12, 2013

 Priority:
 Country:Not defined
 Priority Date:September 11 , 2012

 Register Type:Principal Register

 ADDITIONAL INFO.


  Correspondence Address:
  JOHN W. CRITTENDEN COOLEY LLP

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CONFIDENTIAL                                                                                                   TCI_00027991
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                                          #:8149


  1299 PENNSYLVANIA AVENUE NW, SUITE 700 WASHINGTON DC 20004
  Law Office Assigned:LAW OFFICE 102
  Events:
  September 19, 2014 - NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
  September 18, 2014 - Extension 3 Granted
  September 10, 2014 - Extension 3 Filed
  September 10, 2014 - TEAS Extension Received
  April 15, 2014 - NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
  April 14, 2014- Extension 2 Granted
  April 8, 2014 - Extension 2 Filed
  April 8, 2014 - TEAS Extension Received
  November 6, 2013 - NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
  November 6, 2013 - CORRECTED NOA E-MAILED
  November 5, 2013 - Extension 1 Granted
  October 4, 2013 - Extension 1 Filed
  November 5, 2013 - Divisional Processsing Completed
  October 4, 2013 - Divisional Request Held Received
  November 4, 2013 - CASE ASSIGNED TO INTENT TO USE PARALEGAL
  October 16, 2013 -AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP
  October 4, 2013 - TEAS REQUEST TO DIVIDE RECEIVED
  October 4, 2013 - TEAS Extension Received
  October 2, 2013 - TEAS Change of Correspondence Received
  April 9, 2013 - NOA E-MAILED - SOU REQUIRED FROM APPLICANT
  February 12, 2013 - OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
  February 12, 2013 - Published For Opposition
  January 23, 2013 - NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
  January 7, 2013 -Approved for Pub - Principal Register
  January 7, 2013 -Assigned to Examiner
  September 17, 2012 - NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
  September 14, 2012 - New Application Entered In Tram

  Location Date:November 5, 2013
  Intent to use:FILED AS INTENT TO USE
  TradeMark status details:ALLOWED - INTENT TO USE 3RD EXTENSION OF TIME GRANTED
  Note:PARENT OF SN(S) 85-980517

 OWNER INFORMATION
 1st New Owner After Publication:
 THRIVE NATURAL CARE, INC. (DELAWARE CORP.)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 DE

 Owner At Publication:
 ECOMUNDI VENTURES, LLC (CONNECTICUT LIMITED LIABILITY COMPANY)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 CT

 Applicant:
 ECOMUNDI VENTURES, LLC (CONNECTICUT LIMITED LIABILITY COMPANY)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA94133 CT


 ASSIGNMENT HISTORY


  Assignee                                          Recorded:October 2, 2013


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CONFIDENTIAL                                                                              TCI_00027992
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                                          #:8150


  THRIVE NATURAL CARE, INC.                    Assigned:September 27, 2013
  42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA   Reel/Frame:5123/0443
  94133                                        Action:ASSIGNS THE ENTIRE INTEREST AND
                                               GOODWILL
  Assignor
  ECOMUNDI VENTURES, LLC




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CONFIDENTIAL                                                                       TCI_00027993
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                                           #:8151




                                                                                                     US Federal
 THRIVE                                                                                              uf 2

 Status: Registered

 Last Status Received: Registered, January 14, 2014
 Most Recent Owner:
 THRIVE NATURAL CARE, INC. (DELAWARE CORP.)

 Goods/Services:
 lnt'I Class(es): 3 (U.S. Class: 1, 4, 6, 50, 51, 52)
 Non-medicated skin care preparations, namely, facial lotions, cleansers and creams, creams and oils for cosmetic use, skin
 moisturizers; pre-shaving preparations; after shave lotions and creams
 First Use: September 5, 2013
 In Commerce: September 5, 2013


 APPL/CATION I REGISTRATION INFO.

 Registration No.:4467942
 Registered:January 14, 2014
 Serial No.:85-980517
 Filed:September 11, 2012
 Published:February 12, 2013
 Trademark Type:Word
 Publications:
 2013-07
 Section:Publication Date of Application
 Published:February 12, 2013

 Priority:
 Country:Not defined
 Priority Date:September 11, 2012

 Register Type:Principal Register

 ADDITIONAL INFO.

  Correspondence Address:
  JOHN W. CRITTENDEN COOLEY LLP
  1299 PENNSYLVANIA AVENUE NW, SUITE 700 WASHINGTON DC 20004
  Events:
  January 14, 2014 - Registered-Principal Register
  December 10, 2013 - NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
  December 7, 2013 - Law office Registration Review Completed
  December 5, 2013 - Assigned to LIE
  November 11, 2013 - Allowed Principal Register - SOU Accepted
  November 6, 2013 - NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
  November 5, 2013 - Statement of Use Processing Complete
  October 4, 2013 - Use Amendment Filed
  November 5, 2013 - Extension 1 Granted
  October 4, 2013 - Extension 1 Filed


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CONFIDENTIAL                                                                                                    TCI_00027994
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  November 5, 2013 - Divisional Processsing Completed
  October 4, 2013 - Divisional Request Held Received
  November 4, 2013 - CASE ASSIGNED TO INTENT TO USE PARALEGAL
  October 16, 2013 -AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP
  October 4, 2013 - TEAS REQUEST TO DIVIDE RECEIVED
  October 4, 2013 - TEAS Extension Received
  October 4, 2013 - TEAS Statement of Use Received
  October 2, 2013 - TEAS Change of Correspondence Received
  April 9, 2013 - NOA E-MAILED - SOU REQUIRED FROM APPLICANT
  February 12, 2013 - OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
  February 12, 2013 - Published For Opposition
  January 23, 2013 - NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
  January 7, 2013 -Approved for Pub - Principal Register
  January 7, 2013 -Assigned to Examiner
  September 17, 2012 - NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
  September 14, 2012 - New Application Entered In Tram

  Intent to use:FILED AS INTENT TO USE -ACTUAL USE CLAIMED
  TradeMark status details:REGISTERED
  Note:CHILD OF SN 85-726058

 OWNER INFORMATION

 Registrant:
 THRIVE NATURAL CARE, INC. (DELAWARE CORP.)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 DE

 1st New Owner After Publication:
 THRIVE NATURAL CARE, INC. (DELAWARE CORP.)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 DE

 Owner At Publication:
 ECOMUNDI VENTURES, LLC (CONNECTICUT LIMITED LIABILITY COMPANY)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 CT

 Applicant:
 ECOMUNDI VENTURES, LLC (CONNECTICUT LIMITED LIABILITY COMPANY)
 42 DARRELL PLACE SAN FRANCISCO, CALIFORNIA 94133 CT


 MARKS WITH SIMILAR OWNERSHIP

 THRIVE NATURAL CARE, INC. (DELAWARE CORP.) (or
 related entities)
 THRIVE
 THRIVE




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CONFIDENTIAL                                                                         TCI_00027995
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                                            #:8153




        THRIVE
                                                                                                               US Federal
 THRIVE                                                                                                        uf 3

 Status: Allowed

 Last Status Received: Allowed - Intent to Use Suspension Letter Mailed , September 15, 2014
 Most Recent Owner:
 MEDELA HOLDING AG (SWITZERLAND CORP.)

 Goods/Services:
 lnt'I Class(es): 3 (U.S. Class: 1, 4, 6, 50, 51, 52)
 Body care products, namely, soaps; perfumery, aromatherapy products, namely, essential oils, hair lotions; dentifrices,
 feminine hygiene products, namely, creams for use on the skin and body; baby lotions and wipes

 lnt'I Class(es): 5 (U.S. Class: 6, 18, 44, 46, 51, 52)
 Plasters for wound dressing, gauze for dressings, breast-nursing pads and breast nursing pads, namely, hydrogel pads for
 protection of sensitive and sore nipples; disinfectants for medical instruments; disinfectants for all purposes; food for infants,
 namely, breast milk and processed breast milk; products made out of breast milk, namely, fortified breast milk

 lnt'I Class(es): 9 (U.S. Class: 21, 23, 26, 36, 38)
 Computer hardware and computer software, namely, educational software for pregnant women featuring instruction in the
 field of breastfeeding , blank magnetic data carriers; pre-recorded eds, floppy disks, audio and video cassettes, and audio
 and video tapes featuring educational instruction for pregnant and breastfeeding women and healthcare professionals in the
 field of breastfeeding ; magnetically encoded and electronically encoded identity cards; scales

 lnt'I Class(es): 10 (U.S. Class: 26, 39, 44)
 Artificial limbs, eyes and teeth; suture materials; phototherapeutic apparatus for medical purposes; vacuum pumps for
 medical purposes; medical specimen collecting containers and medical pouches and containers for medical specimens as
 well as for the collection, disposal, and transport of body fluids; forceps for medical use; incubators for newborns; lamps,
 namely, medical examination lamps, surgical lamps, ultraviolet ray lamps for medical purposes and phototherapy lamps for
 medical purposes; breast pumps; breast shields; feeding bottles; medical pouches and containers specially designed for the
 collection, deep-freezing, storing, transport, and reheating breast milk for medical purposes; feeding bottles for medical
 purposes; breast nipple shields for medical purposes; nipple formers for breastfeeding, namely, medical device which
 applies pressure on the nipple muscle and helps it to extend or prepare flat or inverted nipples for breastfeeding; bags and
 containers specially adapted for use holding sterilizer units for medical purposes; cooling bags for medical purposes, namely,
 for cooling apparatus used for medical and surgical equipment used during medical and surgical procedures; elastic
 stockings, medical compression stockings for varicose veins; bags and containers specially adapted for holding medical
 steam cleaners and sterilizers for medical purposes; ventouses, namely, medical vacuum pumps designed to accelerate
 childbirth; dummies or teats for babies, namely, pacifiers and baby bottle nipples

 lnt'I Class(es): 11 (U.S. Class: 13, 21, 23, 31 , 34)
 Electric heaters for feeding bottles, sterilizers, baby bottle sterilizers, milk and water sterilizers; pasteurizers for use in food
 and beverages



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CONFIDENTIAL                                                                                                              TCI_00027996
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                                            #:8154


 lnt'I Class(es): 18 (U.S. Class: 1, 2, 3, 22, 41)
 Leather and imitations of leather, trunks and travelling bags; travelling trunks, suitcases, rucksacks and sling straps, namely,
 straps for carrying cases for the transport of breast pumps and vacuum pumps; slings for carrying infants; umbrellas,
 parasols and walking sticks; all purpose carrying bags and baby carrying bags

 lnt'I Class(es): 21 (U.S. Class: 2, 13, 23, 29, 30, 33, 40, 50)
 Earthenware, namely, mugs, basins, plates and bowls; bags and containers for household use, namely, containers for
 storing, freezing, preserving, transporting and heating of breast milk; containers for household use, namely, containers for
 sterilizers; drinking cups

 lnt'I Class(es): 25 (U.S. Class: 22, 39)
 Ladies underwear for expectant and nursing mothers, namely, panty, maternity supporting brief and belt, nursing bra,
 camisole, undershirt, tank top; brassieres and underwear, clothes for mothers before and after birth, namely, shirts, tops,
 pants, bottoms, blouses, skirts

 lnt'I Class(es): 40 (U.S. Class: 100, 103, 106)
 Treatment of materials, namely, beverage processing in the form of preservation, analyzing, separation, isolation of
 components, converting and pasteurization of breast milk

 lnt'I Class(es): 41 (U.S. Class: 100, 101, 107)
 Education in the form of classes, workshops, seminars in the field of breastfeeding, phototherapy and healthcare; information
 about education in the field of breastfeeding, phototherapy and healthcare; medical training in the use and operation of
 breastfeeding, phototherapy and healthcare devices

 lnt'I Class(es): 44 (U.S. Class: 100, 101)
 Medical services in the field of home care services; medical services in the field of breastfeeding, phototherapy and
 healthcare; rental of medical equipment, namely, breast pumps and vacuum pumps; services of a breast milk bank, namely,
 for collecting and administrating of breast milk


 APPL/CATION I REGISTRATION INFO.

 Serial No.:86-098107
 Filed:October 22, 2013
 Published:March 11, 2014
 Allowed:May 6, 2014
 Trademark Type:Word
 Publications:
 2014-11
 Section:Publication Date of Application
 Published:March 11, 2014

 Priority:
 Country:Not defined
 Priority Date:October 22, 2013

 Register Type:Principal Register

 ADDITIONAL INFO.

  Correspondence Address:
  LAWRENCE E. ABELMAN ABELMAN, FRAYNE & SCHWAB
  666 3RD AVE NEW YORK, NY 10017-4011
  Law Office Assigned:LAW OFFICE 116


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CONFIDENTIAL                                                                                                         TCI_00027997
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  Events:
  September 15, 2014 - Letter of Suspension Mailed
  September 12, 2014 - Suspension Letter Written
  September 12, 2014 - Previous Allowance Count Withdraw
  September 3, 2014 - Case Returned to Examination
  September 3, 2014 - Notice of Allowance Cancelled
  May 6, 2014 - Notice of Allowance-Mailed
  March 11, 2014 - Published For Opposition
  February 19, 2014 - Notice of Publication
  February 3, 2014 - Approved for Pub - Principal Register
  February 3, 2014 - Assigned to Examiner
  October 28, 2013 - NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
  October 25, 2013 - New Application Entered In Tram

  Location Date:September 12, 2014
  Intent to use:FILED AS INTENT TO USE
  TradeMark status details:ALLOWED - INTENT TO USE SUSPENSION LETTER MAILED

 OWNER INFORMATION

 Owner At Publication:
 MEDELA HOLDING AG (SWITZERLAND CORP.)
 LATTICHSTRASSE 4B BAAR
 Switzerland

 Applicant:
 MEDELA HOLDING AG (SWITZERLAND CORP.)
 LATTICHSTRASSE 4B BAAR
 Switzerland




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CONFIDENTIAL                                                                         TCI_00027998
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                                  #:8156




      TRIAL EXHIBIT NO. 30
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                                               #:8157
  Message


  From:          Karissa Bodnar [kbodnar@thrivecausemetics.com)
  on behalf of   Karissa Bodnar <kbodnar@thrivecausemetics.com> [kbodnar@thrivecausemetics.com)
  Sent:          4/23/2016 4:57:26 PM
  To:            Mary Baker Anderson [mbakeranderson@thrivecausemetics.com)
  Subject:       Fwd: Permission request Thrive Causemetics



  Ugh!

  Sent from my iPhone

  Begin forwarded message:

  From: Thrive <amcintosh@thrivenaturalcare.com>
  Date: April 23, 2016 at 5:55:09 AM PDT
  To: Karissa Bodnar <kbodnar@thrivecausemetics.com>
  Subject: Re: Permission request Thrive Causemetics

  Hi Karissa

  Thanks for your note. Your efforts sounds like a good one. J would like to be helpful but cannot provide
  permission to use the Thrive name trademark in the cosmetics category. We already sell female cosmetic
  products, and have invested a lot of time and effort in building the thrive mark since 2013. I also have outside
  investors in my company and owe them the protection of the thrive mark across the gamut of personal care
  products that fall within our owned mark. Sorry I don't have better news for you but im sure you understand.
  Best of luck with your venture.

  Alex McIntosh
  Thrive Natural Care
  amcintosh@thrivenaturalcare.com

  On Apr 22, 2016, at 6:11 PM, Karissa Bodnar <kbodnar@thrivecausemetics.com> wrote:

  Hi Thrive Care team,

  I'm reaching out to speak with your founder or someone on your team to discuss pennission to use the word
  Thrive as part of our brand name.

  We are a color cosmetics brand with a mission to help women going through cancer treatment look and feel
  better during their time of need. We will never use the word "Thrive" without the word "Causemetics" because
  the two words to use are our brand.

  We only help women and I see that you are a men's line. I started Thrive Causemetics after losing my friend
  Kristy to cancer at just 24 years old as a mission to provide complimentary beauty products to woman going
  through cancer treatment to restore confidence.

  If you'd prefer to discuss by phone, I'd love to connect soon and am happy to speak over the weekend.

  Thanks for your help,




CONFIDENTIAL                                                                                              TCI_00019117
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                                           #:8158
  Karissa Bodnar
  Founder & CEO I Thrive Causemetics
  thrivecausemetics.com




CONFIDENTIAL                                                                      TCI_000191 18
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                                  #:8159




      TRIAL EXHIBIT NO. 31
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                                    #:8160
                                                                                                                                       TM



                                                                                                                         PROMO         ©


                                                                                                                     travis manfredi
                                                                                                              travis@cobaltlaw.com
                                                                                                                       510.84 1.9800

     March 3, 2017

     VTA 0VERN1GHT MAIL

     Ms. Karissa Bodnar
     Thrive Causemetics, Inc.
     330 3rd Avenue West, Suite 204
     Seattle, WA 98119

     RE:              THRIVE Trademark
     OUR FILE:        Thrive Natural Care, Inc./Dispute with Thrive Causemetics

     Dear Ms. Bodnar:

     We represent Thrive Natural Care, Inc. ("Thrive") with respect to its trademarks. While
     we applaud the motivation and mission behind Thrive Causemetics, Inc. ("TCI"), we
     have to take issue with your name choice. To that end, we write to inform you that your
     use of the identical term in your name for highly related products infringes Thrive's
     trademark rights. As such, you must immediately cease all use of the term THRIVE.

     As you are aware, Thrive owns a federal trademark registration for the mark THRIVE
     (U.S. Trademark Reg. Nos. 4,467,942) for use in connection with skin care products.
     There is no question that yom use of a mark that merely adds a term and is used in
     connection with related products is likely to cause consumer confusion between the
     marks.

     Considering TCl's apparent abandonment of its application to register its THRIVE
     CAUSEMETICS trademark, TCI may have already realized its mark is problematic and
     changed its name to something that will not conflict with existing marks. If this is not the
     case, TCI must now do so.

    Only by executing and returning this letter within ten days to signify TCI's agreement to
    cease use of all marks containing the term THRIVE wi ll you avoid potential additional
    action by Tlu·ive to protect its rights. Thrive understands that it wil1 take time for you to
    change yow- name and sell through already-labeled products. Assuming you agree to the
    demands in this letter, Thrive will allow for a reasonable phase-out period of 120 days
    from date of receipt of this letter.




~bait          lawyers in Advertis ing, Promotions & Intellectual Property
               coba ltlaw.com
                                                                             9 18 Parker St reet. Bldg A21
                                                                             Berkeley, CA 94710                I
                                                                                                                    P.510.8 41.980 0
                                                                                                                    F.510 .295.240 I

                                                                                                             TNC00902
Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 167 of 175 Page ID
                                  #:8161
   Ms. Karissa Bodnar
   March 3, 2017
   Page 2




   We appreciate TCl's anticipated cooperation in this matter and look forward to hearing
   from you as requested. Please note that nothing in this letter should be construed as a
   waiver of any of Thrive's rights, all of which are expressly reserved.

   Sincerely,

   COBALTLLP



   Travis Manfredi


   Agreed to:



   Karissa Bodnar
   Founder & CEO of Thrive Causemetics, Inc.




                                                                                  TNC00903
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                                  #:8162




      TRIAL EXHIBIT NO. 34
           Case 2:20-cv-09091-PA-AS Document 167 Filed 10/26/21 Page 169 of 175 Page ID
                                             #:8163



                                                                               Date Generated : December 09, 2014
 Chart Of Tagged Records

 TM           Mark/Name       Status/Status Date    Brief                  Owner                    Notes
 Record                                             Goods/Services
 us           CAUS EMETIC     Abandoned - Failure   (lnt'I Class: 3)       Mendwell Inc
 Federal                      to Respond            Cosmetic               (Idaho Corp.)
 Q1            causetnetic    May 21, 2009          preparations           200 Technology
 uf 1                                                                      Drive
                                                                            Idaho Falls, Idaho
                                                                           83401


 us           CAUSE-METICS    Registered 8 & 15     (lnt'I Class: 3)       Weiss, Jody R.
 Federal                      April 17, 2011        Cosmetics;             (United States
 01                                                 cosmetics, namely      Citizen)
 uf 2                                               foundation and         50 Lexington
                                                    toners; blush; eye     Avenue#22H
                                                    make-up; lip liners;    New York, New
                                                    lipsticks; nail        York 10010
                                                    polishers; creams,
                                                    namely eye cream,
                                                    lip cream and nail
                                                    cream; skin lotions
                                                    and suntan lotions;
                                                    skin cleaners,
                                                    deodorant soaps
                                                    and skin soaps;
                                                    perfume




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CONFIDENTIAL                                                                                             TCI_00028000
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                                                                             Date Generated: December 09, 201 4
 Full Record



    causemetic
                                                                                            US Federal
 CAUSEMETIC                                                                                 uf 1

 Status: Abandoned - Failure to Respond, May 21 , 2009

 Goods/Services:
 lnt'I Class 3 (U.S. Class: 1, 4, 6, 50, 51, 52)
 Cosmetic preparations
 First Use: July 15, 2008
 In Commerce: July 15, 2008
 Most Recent Owner:
 Mendwell Inc (Idaho Corp.)

 APPLICATION I REGISTRATION INFO.


  Serial No.:77-522281                                    Filed:July 15, 2008
                                                          Abandonment Date:April 24, 2009

 ADDITIONAL INFO.


  Correspondent:
  Mendwell Inc
  Mendwell Inc
  200 Technology Dr
  Idaho Falls, ID 83401-1500

  Events:
  May 21, 2009 - Abandoment Notice Mailed - Failure to Respond
  May 21, 2009 - Abandonment - Failure to Respond or Late Response
  October 23, 2008 - NOTIFICATION OF NON-FINAL ACTION E-MAILED
  October 23, 2008 - Non-Final Action E-Mailed
  October 23, 2008 - Non-Final Action Written - Sec.2 (d)
  October 23, 2008 - Assigned to Examiner
  July 19, 2008- NOTICE OF PSEUDO MARK MAILED
  July 18, 2008 - New Application Entered In Tram


 OWNER INFORMATION

 Applicant

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CONFIDENTIAL                                                                                        TCI_00028001
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 Mendwell Inc (Idaho Corp.)
 200 Technology Drive
 Idaho Falls, Idaho 83401




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CONFIDENTIAL                                                                      TCI_00028002
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                                                                                                       US Federal
 CAUSE-METICS                                                                                          uf 2

 Status: Registered 8 & 15, April 17, 2011

 Affidavit(s): 8 & 15, April 17, 2011
 Goods/Services:
 lnt'I Class 3 (U.S. Class: 1, 4, 6, 50, 51, 52)
 Cosmetics; cosmetics, namely foundation and toners; blush; eye make-up; lip liners; lipsticks; nail polishers; creams, namely
 eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin cleaners, deodorant soaps and skin soaps;
 perfume
 First Use: September 10, 2004
 In Commerce: October 15, 2004
 Most Recent Owner:
 Weiss, Jody R. (United States Citizen)

 APPL/CATION I REGISTRATION INFO.


  Serial No.:78-393369                                            Filed:March 30, 2004
  Registration No.:2,938,220                                      Published:January 11, 2005
                                                                  Registered:April 5, 2005

 ADDITIONAL INFO.


  Correspondent:
  Maria Crimi Speth
  Jaburg & Wilk, P.C.
  Suite 2000
  3200 North Central Avenue; Phoenix AZ 85012

  Additional Info:
  Filed as intent to use - actual use claimed
  Events:
  April 17, 2011 - Registered - Sec.8 (6-Yr) Accepted & Sec.15 ACK.
  April 15, 2011 - CASE ASSIGNED TO POST REGISTRATION PARALEGAL
  April 5, 2011 - TEAS Section 8 & 15 Received
  April 5, 2005 - Registered-Principal Register
  January 11, 2005 - Published For Opposition
  December 22, 2004 - Notice of Publication
  November 5, 2004 - Law office Publication Review Completed
  October 29, 2004 - Assigned to LIE
  October 27, 2004 - Approved for Pub - Principal Register
  October 26, 2004 - Data Modification Completed
  October 26, 2004 - Examiner's Amendent Entered
  October 20, 2004 - Examiner's Amendement E-Mailed
  October 20, 2004 - Examiners Amendment - Written
  October 18, 2004 - Assigned to Examiner
  April 8, 2004 - New Application Entered In Tram


 OWNER INFORMATION

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CONFIDENTIAL                                                                                                     TCI_00028003
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 Registrant/ Applicant
 Weiss, Jody R. (United States Citizen)
 50 Lexington Avenue #22H
 New York, New York 10010

 Owner At Publication
 Weiss, Jody R. (United States Citizen)
 50 Lexington Avenue #22H
 New York, New York 10010




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                                                 #:8169




CONFIDENTIAL                                                                                  TCI_00027077
